      Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25   Page 1 of 123




Timothy W. Snider, OSB No. 034577
timothy.snider@stoel.com
Alexandra Choi Giza, OSB No. 214485
alexandra.giza@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.224.3380
Facsimile: 503.220.2480

Susannah Torpey (pro hac vice forthcoming)
STorpey@winston.com
Rebecca Ou (pro hac vice forthcoming)
ROu@winston.com
Ye Eun Park (pro hac vice forthcoming)
YPark@winston.com
WINSTON & STRAWN LLP
200 Park Avenue
New York, NY 10166
Telephone: 212.294.6700
Facsimile: 212.294.4700

Attorneys for Plaintiff Empower Clinic Services, L.L.C.




                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


 EMPOWER CLINIC SERVICES, L.L.C.,                Case No.

                       Plaintiff,                COMPLAINT

 v.                                              DEMAND FOR JURY TRIAL
 LEGITSCRIPT L.L.C.,
                                                 (REDACTED)
                       Defendant.
         Case 3:25-cv-00514-AB                        Document 1               Filed 03/26/25               Page 2 of 123




                                                   TABLE OF CONTENTS
                                                                                                                                     Page
OVERVIEW OF THE ACTION .................................................................................................... 1
THE PARTIES................................................................................................................................ 9
ADDITIONAL AGENTS AND CO-CONSPIRATORS ............................................................. 10
JURISDICTION AND VENUE ................................................................................................... 10
REGULATORY BACKGROUND .............................................................................................. 12
I.        Regulation of Compounding Organizations in the United States ..................................... 12
II.       Relevant FDA Proposed Rules and Draft Guidelines ....................................................... 16
III.      FDA Form 483s and Warning Letters .............................................................................. 20
IV.       The FDA Adds Injectable GLP-1 Medications to its Drug Shortages List ...................... 22
BACKGROUND ON EMPOWER............................................................................................... 25
LEGITSCRIPT’S UNREASONABLE RESTRAINTS OF TRADE, COMMERCIAL
DISPARAGEMENT, AND TORTIOUS INTERFERENCE ....................................................... 28
I.        LegitScript Unreasonably Restrained Trade by Orchestrating a Group Boycott, Tying
          Certification to the Purchase of Products from LegitScript-Certified Competitors, and
          Tortiously Interfering with Empower’s Existing and Prospective Business Relations. ... 28
          A.          LegitScript Has Enforced Its “Affiliates” Rule in a Biased Manner to Unlawfully
                      Coerce Customers to Stop Doing Business with Empower to the Competitive
                      Advantage of Entities It Has Already Certified. ................................................... 29
                     i.      LegitScript Has Adopted Increasingly Anticompetitive Rules Prohibiting
                             Applicants and LegitScript-Certified Entities from Doing Business with
                             Entities that Are Not LegitScript-Certified.................................................. 29
                     ii.     LegitScript Has Increasingly Enforced Rules Prohibiting Applicants and
                             LegitScript-Certified Entities from Doing Business with Empower to the
                             Benefit of LegitScript-Certified Competitors. ............................................. 33
                     iii.    Empower’s Customers Have Capitulated to LegitScript’s Coercive
                             Demands to Agree to Be Bound By LegitScript’s Unlawful Enforcement
                             of Its “Affiliates” Rule. ................................................................................ 37
                     iv.     LegitScript Has Disparaged Empower in Communications to Customers
                             Resulting in Additional Reputational Harm. ............................................... 39
                     v.      LegitScript’s Biased and Discriminatory Enforcement of Its “Affiliates”
                             Rule Supports the Conclusion That Empower Has Been Targeted for an
                             Anticompetitive Purpose and Effect. ........................................................... 41
                     vi.     LegitScript’s Expansion of Its “Affiliates” Rule Prohibiting LegitScript-
                             Certified Businesses From Buying Products From Non-LegitScript
                             Certified 503A Pharmacies or 503B Outsourcing Facilities Contravenes
                             Draft FDA Guidance and Is Anticompetitive. ............................................. 43
     Page i      -        COMPLAINT
         Case 3:25-cv-00514-AB                         Document 1                 Filed 03/26/25                Page 3 of 123




          B.         LegitScript’s “Affiliates” Rule Violates the Law in Multiple Ways. ................... 46
II.       LegitScript’s Arbitrary Denial of Empower’s Healthcare Certification and Website
          Classification of Empower as an “Unapproved” Pharmacy Is Further Evidence of Its
          Biased and Discriminatory Practices That Unreasonably Restrain Trade. ....................... 52
          A.         LegitScript Unreasonably and Arbitrarily Denied Certification to Empower
                     Despite Empower’s Demonstrated Efforts to Achieve Compliance..................... 53
          B.         In Stark Contrast to LegitScript’s Arbitrary and Biased Treatment of Empower,
                     LegitScript Has Certified Entities with Far More Serious Regulatory and Legal
                     Violations. ............................................................................................................. 58
          C.         LegitScript’s Imposition of an Arbitrary Waiting Period Before Permitting
                     Empower to Reapply for Certification Was Biased and Discriminatory. ............. 62
          D.         LegitScript’s Website Classification Guide is Arbitrary and Its Classification of
                     Empower as “Unapproved” Is Further Evidence of LegitScript’s Discriminatory
                     and Anticompetitive Practices .............................................................................. 64
III.      LegitScript’s Conduct Has Harmed, and Continues to Harm, Competition in the
          Relevant Markets, Empower, Empower’s Customers, Patients, and LegitScript’s
          Competitors. ...................................................................................................................... 69
          A.         LegitScript’s Unlawful Conduct Has Harmed the Competitive Process and
                     Competition on the Merits. ................................................................................... 69
          B.         LegitScript’s Unlawful Conduct Has Caused Actual Adverse Effects on the
                     Market, Harming Compounding Customers and Patients. ................................... 70
          C.         LegitScript’s Unlawful Conduct Has Harmed Empower. .................................... 73
IV.       LegitScript’s Anticompetitive Conduct Has Harmed Competition in Several Relevant
          Markets ............................................................................................................................. 75
          A.         The Market for Certification of Healthcare Providers and Pharmaceutical
                     Service Providers with an Online Presence Is Highly Concentrated and
                     Controlled by LegitScript. .................................................................................... 76
          B.         LegitScript Has the Power to Exclude Healthcare Merchants, Telemedicine
                     Providers, and Online Pharmacies from Access to Online Markets, Patients, and
                     Relationships Needed to Compete. ....................................................................... 83
          C.         The Market for the Manufacture and Sale of Compounded Products .................. 87
          D.         Product Markets for Products That May Be Compounded ................................... 90
                   i.        The Market for the Supply of GLP-1 Medications ...................................... 91
                   ii.       The Market for the Supply of Hormone Replacement Therapy Drugs and
                             Treatments ................................................................................................... 94
                   iii.      The Market for the Supply of Drugs and Treatments Targeting Sexual
                             Dysfunction.................................................................................................. 95
                   iv.       The Market for Supply of Dermatology Medications and Treatments........ 96
                   v. The Market for Supply of Fertility Treatments ........................................... 97
      Page ii     - COMPLAINT
          Case 3:25-cv-00514-AB                          Document 1                 Filed 03/26/25                 Page 4 of 123




                     vi.       The Market for the Supply of Mental Health Medications.......................... 98
                     vii.      The Market for the Supply of Longevity and Anti-Aging Drugs and
                               Therapies...................................................................................................... 99
           E.         The Geographic Market is the United States ...................................................... 100
           F.         LegitScript’s Conduct Harms Interstate Commerce ........................................... 101
CAUSES OF ACTION ............................................................................................................... 102
COUNT ONE: AGREEMENTS THAT UNREASONABLY RESTRAIN TRADE IN
VIOLATION OF SECTION 1 OF THE SHERMAN ACT, 15 U.S.C. § 1, Texas Antitrust
Act, Texas Business and Commercial Code § 15.05(a), New Jersey Antitrust Act, N.J.S.A. §
56:9-3 .......................................................................................................................................... 102
COUNT TWO: TYING VIOLATION OF SECTIONS 1 AND 2 OF THE SHERMAN ACT,
15 U.S.C. §§ 1, 2, Texas Antitrust Act, Texas Business And Commercial Code § 15.05(c),
New Jersey Antitrust Act, N.J.S.A. § 56:9-3 .............................................................................. 107
COUNT THREE: Tortious Interference With Existing Contract Under Texas Law ................. 109
COUNT FOUR: Tortious Interference With Prospective Business Relations Under Texas
Law ............................................................................................................................................. 111
COUNT FIVE: Business Disparagement Under Texas Law...................................................... 113
COUNT SIX: Texas Common Law Unfair Competition .......................................................... 115
DEMAND FOR JURY TRIAL .................................................................................................. 117
PRAYER FOR RELIEF ............................................................................................................. 117




    Page iii -           COMPLAINT
    Case 3:25-cv-00514-AB            Document 1       Filed 03/26/25     Page 5 of 123




       1.       Plaintiff Empower Clinic Services, L.L.C., doing business as Empower Pharmacy,

which is a Pharmacy Compounding Accreditation Board (“PCAB”)-accredited 503A

compounding pharmacy that makes personalized medications tailored to patients’ individual

needs pursuant to prescriptions, and Empower Pharma, which consists of two FDA-registered

and current Good Manufacturing Practices (“cGMP”) compliant 503B outsourcing facilities that

compound products for healthcare provider in-office use (collectively, “Empower”), allege as

follows by its undersigned attorneys:

                               OVERVIEW OF THE ACTION

       2.       This is an action for treble damages and permanent injunctive relief against

LegitScript L.L.C. (“LegitScript”) for violations of Sections 1 and 2 of the Sherman Act, 15

U.S.C. §§ 1, 2; the Texas Business & Commercial Code §§ 15.01-15.52 (“Texas Antitrust Act”);

the New Jersey Antitrust Act, N.J.S.A. §§ 56:9-3, 9-4; and common law. In addition to treble

damages, among other relief, this action seeks (i) an injunction prohibiting LegitScript from

tortiously interfering with Empower’s contracts, orders, and prospective economic advantage;

(ii) an injunction prohibiting LegitScript from restraining customers from working with

Empower; (iii) an injunction prohibiting LegitScript from commercially disparaging Empower;

(iv) an injunction prohibiting LegitScript from tying its Healthcare Merchant Certification

(“LegitScript Certification”) to the purchase of products sold by entities that are certified by

LegitScript; (v) an injunction prohibiting LegitScript from applying biased and discriminatory

standards to Empower’s applications for certification; and (vi) a declaration that LegitScript’s

exclusionary requirements and agreements prohibiting LegitScript applicants and certified

entities from working with Empower pursuant to its anticompetitive “Affiliates” rule are null,

void, and unenforceable.

Page 1      -   COMPLAINT
    Case 3:25-cv-00514-AB               Document 1        Filed 03/26/25       Page 6 of 123




         3.       In contrast to the majority of compounding pharmacies that are too small to present

a competitive threat to traditional pharmaceutical manufacturers or their distributors, Empower

Pharmacy is one of the only compounding pharmacies that has been licensed to sell compounded

products in all 50 states and is PCAB-accredited. Empower has more than 1,000 employees and

state-of-the-art facilities of more than 380,000 square feet. Due to Empower’s scale, Empower

is able to safely compound products at a volume greater than that of other, more regional,

compounding pharmacies and outsourcing facilities. Empower thus plays an important role

helping patients access personalized medicines when brand manufacturers’ products contain

allergens, dyes, or other ingredients that are unsafe or unsuitable for specific individuals; in

improving and creating medications that are not commercially available and that prescribers

determine could benefit their patients; and when brand manufacturers fail to fulfill consumer

demand for medications during drug shortages.

         4.       Defendant LegitScript is a private, for-profit company that was initially founded in

2007 to verify the legitimacy of online pharmacies in response to what it described as a

“proliferation of dangerous counterfeit pharmaceuticals sold on the internet.” However, as

LegitScript itself notes, its “offerings have grown and changed a lot since then.” Today, without

statutory authority to do so, LegitScript has arrogated to itself the claimed power to “weed out

bad actors and their wares” from the market using its “database of problematic products” and a

team of purported “investigative analysts.” With only a few hundred employees, however,

LegitScript lacks both the authority and practical ability to monitor and regulate the

pharmaceutical marketplace in a fair and non-discriminatory manner and is instead influenced

by entities seeking to restrain competition through the use of LegitScript’s market and monopoly

power.

Page 2        -    COMPLAINT
     Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 7 of 123




       5.       In recent years, corresponding with increased demand for life-changing

glucagon-like peptide 1 receptor agonists (“GLP-1”) medications from compounding

pharmacies as a result of the FDA listing such medications on its drug shortage list, LegitScript

has introduced and enforced increasingly anticompetitive rules that are not reasonably necessary

or narrowly tailored to achieve any procompetitive justification. Over the course of the last few

years, LegitScript has increasingly disparaged Empower to its customers and aggressively

coerced Empower’s customers applying for LegitScript Certification to agree to stop doing

business with Empower on the basis that Empower is not itself LegitScript-certified. Despite

the fact that these customers had chosen to purchase from Empower based on the merits of

competition and Empower’s quality, pricing, and services, LegitScript demanded that customers

concertedly refuse to deal with Empower because LegitScript does “not allow” any “certified

clients to work with Empower Pharmacy.”

       6.       In doing so, LegitScript has orchestrated an unlawful and anticompetitive group

boycott or “concerted refusal to deal” against Empower that violates state and federal antitrust

laws, has tortiously interfered with Empower’s contractual and business relations, has tied its

certification to the purchase of products from LegitScript-certified entities, and has commercially

disparaged Empower.        LegitScript’s recent rule changes and aggressive campaign against

Empower make no economic sense for an independent certifying entity but for an unlawful

agreement to disadvantage Empower to the benefit of one or more of Empower’s competitors.

Indeed, LegitScript enforces its anticompetitive and exclusionary rules in a biased, arbitrary, and

capricious way by turning a blind eye to LegitScript-certified entities that violate its rules by

purchasing products from entities that are not LegitScript-certified when they are purchasing

from entities other than Empower, such as from powerful brand manufacturers.

Page 3      -    COMPLAINT
     Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25      Page 8 of 123




       7.       LegitScript has also repeatedly declined to grant Empower LegitScript Certification

to certify it as a “legitimate” pharmacy despite Empower’s demonstrated efforts towards

maintaining compliance with the FDA and State Boards of Pharmacy. In contrast, LegitScript

has certified, and declined to revoke the certification of, pharmacies that have pled guilty to

serious violations of law for intentionally selling unapproved drugs or that have faced serious

regulatory enforcement actions, including as a result of patients dying. LegitScript’s blatantly

discriminatory treatment of Empower compared to other pharmacies supports the conclusion that

LegitScript has competitively disadvantaged Empower to the benefit of LegitScript-certified

entities and other Empower competitors with which LegitScript has close ties. As one example,

LegitScript imposed an atypical and arbitrary waiting period on Empower, precluding it from

applying for certification for a period of time that just so happened to correspond with the time

needed for a large pharmaceutical competitor with close ties to LegitScript to remove its GLP-1

medication from the FDA shortage list. LegitScript has thus applied its certification standards

in a biased and arbitrary manner that has an anticompetitive effect.

       8.       As one nonprofit organization has noted, “Americans pay by far the highest prices

in the world for most prescription drugs, and of course big pharma would like to keep it that

way.” To that end, the nonprofit reported that “[b]ig pharma is a major proponent” of “Shadow

Regulation” to impose terms of service addressing pharmaceutical sales in a similar way, noting,

“You might assume that the various terms of service of these companies, although all addressing

online pharmaceutical sales in a similar way, were devised independently and voluntarily. But

that isn’t the case.” The nonprofit specifically identified LegitScript as the entity that “carries

out most of the operational level arrangements that are agreed at a level of principle” by a

“confusing web of similar sounding organizations with overlapping memberships, such as the

Page 4      -    COMPLAINT
        Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 9 of 123




    Alliance for Safe Online Pharmacies (ASOP) and the Center for Safe Internet Pharmacies

    (CSIP),” the former of which is composed of pharmaceutical industry competitors and the second

    of internet platforms. As the nonprofit reported, LegitScript “was instrumental in the formation

    of both ASOP and CSIP.” The nonprofit further reported that “such private deals” have been

    used to “block” pharmacies from essential internet intermediaries needed to compete. “The

    unsurprising result is that the measures put in place by this closed and captured process are too

    broad, favoring the private interests of big pharma, limiting access to information and access to

    safe and affordable medicine.”1

           9.    Years of anticompetitive conduct by LegitScript—including: (i) biased and

    disparate treatment of Empower; (ii) the expanded interpretation and enforcement over time of

    an anticompetitive “Affiliates” rule used to block LegitScript applicants and certified members

    from purchasing from Empower; (iii) misleading and disparaging statements targeting Empower;

    (iv) preferential treatment of ASOP members and LegitScript-certified entities; and (v) reporting

    that LegitScript carries out agreements reached with ASOP members through its business—all

    provide evidence that LegitScript has not only entered into unreasonable restraints of trade by

    organizing a group boycott of customers against Empower but has further done so as a result of

    an unlawful agreement with one or more Empower competitors.

           10.   Far from merely “weed[ing] out bad actors” and counterfeit pharmaceuticals,

    LegitScript now wields its power to restrain competition for the sale of legitimate

    pharmaceuticals sold by entities such as Empower that are duly authorized to sell its compounded


1
  Jeremy Malcolm, How Big Pharma’s Shadow Regulation Censors the Internet, Elec. Frontier
Found. (Oct. 6, 2016), https://www.eff.org/deeplinks/2016/09/how-big-pharmas-shadow-
regulation-censors-internet. Electronic Frontier Foundation is rated “[h]igh for factual reporting
due to proper sourcing and a clean fact-check record” with “HIGH CREDIBILITY” by Media
Bias/Fact Check. See https://mediabiasfactcheck.com/frontier-media-bias-credibility-rating/.
   Page 5 - COMPLAINT
    Case 3:25-cv-00514-AB            Document 1       Filed 03/26/25       Page 10 of 123




products by the state and federal governmental bodies that hold the actual authority to regulate

pharmaceutical markets in the United States. LegitScript’s Healthcare Merchant Certification

program purports to distinguish between “‘rogue’ internet pharmacies” that “expose consumers

to danger” and are “operating with flagrant disregard for the law” from “legitimate pharmacies

trying to reach patients in need.” Its website prompts visitors to “enter a website to see if it is

LegitScript-certified, legitimate, or rogue,” suggesting that legitimate pharmacies that are not

approved by LegitScript are instead illegitimate or rogue merely because they are not approved

by this private entity that has sought to entitle itself to regulate pharmaceutical markets. Far

from accurately identifying safe pharmacies, LegitScript’s failure to adopt and apply neutral

standards in an unbiased way and failure to resist the anticompetitive pressures of Empower’s

competitors have instead unreasonably restrained free and fair competition among legitimate

pharmacies that are in fact seeking to reach patients in need.

       11.       While LegitScript is small in size, it has amassed and exercised monopoly power

in the market for certification and substantial market power in the supply of internet advertising

to online pharmacies as a result of a web of agreements it has entered into with major internet

platforms pursuant to which they agree not to permit advertisements by online pharmacies unless

accredited by LegitScript. Empower’s customers cannot risk either losing their LegitScript

Certification or not obtaining LegitScript Certification because that would severely restrict, if

not altogether eliminate, their ability to advertise to consumers over the internet. As LegitScript

has noted, without certification, “many banks, advertising programs, social media platforms, and

ecommerce websites will terminate your account.”

       12.       As LegitScript recognizes, “Search engines and social media platforms”—the

majority of which require a LegitScript Certification to serve ads—“are where patients search

Page 6       -    COMPLAINT
        Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25        Page 11 of 123




    for healthcare providers.”2 That said, it is crucial that patients have an unbiased way to identify

    and access safe, legitimate compounding pharmacies. While LegitScript purports to fulfill this

    role, in reality, as LegitScript’s history of certifying some pharmacies with serious regulatory

    violations while denying certification to others with far less severe regulatory issues shows,

    LegitScript has used its market power to restrain competition from competitors of

    LegitScript-certified entities and other competitors with which LegitScript has close ties.

    LegitScript has unreasonably and unjustifiably restrained Empower’s customers and their

    patients from accessing additional and lower-priced compounded products they otherwise would

    have purchased in a free and fair, competitive market. Notably, as discussed below, Empower

    was not only “ready and willing” to apply for its own certification, but repeatedly sought

    certification only to be denied certification based on pretextual and discriminatory interpretations

    of LegitScript’s standards.

            13.   LegitScript has harmed the competitive process by restraining competition on the

    merits for sales to LegitScript-certified entities and applicants at the better prices and quality that

    would otherwise prevail in a competitive market. By blocking sales to its certified entities and

    applicants, LegitScript has further restrained competition on the merits for certification by

    forcing entities to seek certification from LegitScript when they would have preferred to obtain

    certification, or have already obtained certification, from another accreditation organization that

    is not a for-profit company implementing a sham standard while seeking to insert itself as a

    private gatekeeper of already regulated markets.           Certifications offered by LegitScript’s




2
 Certification, LegitScript https://www.legitscript.com/certification/healthcare-certification/ (last
visited Mar. 22, 2025).
   Page 7 - COMPLAINT
    Case 3:25-cv-00514-AB             Document 1        Filed 03/26/25      Page 12 of 123




competitors lose their value if those certifications cannot be used to increase, or even to maintain,

the sales made by certified customers.

       14.       LegitScript’s unlawful and anticompetitive conduct has harmed Empower,

Empower’s customers, its patients, and LegitScript’s competitors and continues to harm them to

this day. LegitScript’s conduct has become even more egregious during the time of a national

shortage of life-changing GLP-1 medications needed to treat conditions such as diabetes and

obesity. LegitScript’s anticompetitive scheme restraining Empower and others from fully

participating in the market for the supply of GLP-1 medications in a time of a national shortage

has reduced the output of GLP-1 medications and restrained the sale of lower-priced GLP-1s and

other products, thereby causing actual adverse effects by making it harder for patients to gain

access to the medications they need.

       15.       LegitScript’s conduct restraining sales of safely compounded medications also

made it harder for patients to financially access much-needed medications. For example, patients

have been losing coverage for GLP-1 medications as insurers choose not to cover expensive

brand-name medications and, unsurprisingly, many cannot afford to pay over $1,000 a month

out of pocket for brand-name GLP-1s. Empower’s prices for compounded GLP-1s are typically

a fraction of the price of branded GLP-1s and are also often lower priced even compared to other

compounding competitors. Thus, customers and patients forced to purchase different products

as a result of LegitScript blocking sales of Empower’s compounded products have not only had

to scramble to find an alternative supply but have often had to pay substantially more as a result.

       16.       As detailed below, LegitScript has violated the law in multiple ways, including by

(i) orchestrating an unlawful group boycott or “concerted refusal to deal” among

LegitScript-certified entities and applicants unreasonably restraining them from purchasing

Page 8       -    COMPLAINT
    Case 3:25-cv-00514-AB             Document 1        Filed 03/26/25      Page 13 of 123




products from Empower that customers otherwise would have purchased in a competitive

market; (ii) tying and conditioning access to the LegitScript’s Healthcare Merchant Certification

on applicants’ agreement to only purchase products from LegitScript-certified entities and

specifically not to purchase products from Empower; (iii) commercially disparaging Empower

based on false and misleading information; (iv) denying Empower certification based on the

biased and discriminatory application of standards or rules from which LegitScript exempts

Empower’s competitors; and (v) tortiously interfering with Empower’s relationships with

customers that had informed LegitScript of supply agreements and relationships with Empower.

                                          THE PARTIES

       17.       Plaintiff Empower Clinic Services, L.L.C. is organized under the corporate laws of

the State of Texas and has its principal place of business in Houston, Texas. Empower’s

headquarters is located at 7601 North Sam Houston Parkway, Suite 100, Houston, Texas 77064.

Empower was founded in 2008 by Shaun Noorian and has expanded its operations across North

America to provide access to quality, personalized, and affordable medication. Empower

operates a 503A compounding pharmacy, an FDA-registered and cGMP-compliant outsourcing

facility in Texas, and has established another FDA-registered and cGMP-compliant outsourcing

facility in New Jersey. Empower offers both sterile and non-sterile compounded products to

individual patients based on prescriptions submitted by their healthcare providers. Plaintiff

Empower Clinic Services, L.L.C. does business as Empower Pharmacy to operate as a 503A

compounding pharmacy, which specializes in creating patient-specific medications tailored to

individual needs. Plaintiff Empower Clinic Services, L.L.C. also does business as Empower

Pharma, an FDA-registered 503B outsourcing facility engaged in the business of sterile and non-

sterile pharmaceutical preparations for weight management, hormone replacement therapy,

Page 9       -    COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 14 of 123




intravenous nutrition, mental health, skin care, sexual dysfunction, fertility, men’s health, and

women’s health; and pharmaceutical preparations for the prevention, reduction, and treatment of

cardiovascular, lymphatic, respiratory, pulmonary, neurological, renal, gastrointestinal,

musculoskeletal, dermatological, allergic, inflammatory, autoimmune, gynecological, genetic,

longevity, metabolic, and pain conditions. Empower Pharma operates a 503B facility in

Houston, Texas, and has established its newest 503B facility in East Windsor, New Jersey.

       18.   Defendant LegitScript L.L.C. is organized under the corporate laws of the State of

Oregon and has its principal place of business in the State of Oregon. LegitScript, founded by

John Horton, is a for-profit, privately managed verification and monitoring service for online

and other pharmacies and has been seeking to expand to other areas as well.

                  ADDITIONAL AGENTS AND CO-CONSPIRATORS

       19.   Various persons and entities who are not named as Defendants have participated as

co-conspirators in the violations alleged herein and have performed acts and made statements in

furtherance thereof. These other individuals and entities have facilitated, adhered to, participated

in, and/or communicated with others regarding LegitScript’s unlawful activities. Plaintiff

reserves the right to name some or all of these entities as defendants at a later date.

                               JURISDICTION AND VENUE

       20.   This action arises, in part, under Section 16 of the Clayton Act, 15 U.S.C. § 26, to

prevent and restrain violations of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2; and

under Section 4 of the Clayton Act, 15 U.S.C. § 15, to compensate Plaintiff for its damages.

       21.   This Court has jurisdiction over the federal law claims alleged herein pursuant to

15 U.S.C. § 15 and 28 U.S.C. §§ 1331, 1337. This Court also has subject matter jurisdiction




Page 10 -      COMPLAINT
    Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25       Page 15 of 123




over all claims pursuant to 28 U.S.C. § 1332(a)(1). The parties are citizens of different states,

and the matter in controversy exceeds $75,000.

        22.    This action arises, in part, under the Texas Antitrust Act, Texas Business and

Commercial Code §§ 15.05(a) and 15.05(b), the New Jersey Antitrust Act, N.J.S.A §§ 56:9-3,

9-4, and Texas and New Jersey common law. This Court has supplemental jurisdiction over

Empower’s claims arising under these laws pursuant to 28 U.S.C. § 1367 because the facts

alleged herein support claims under both federal and state law.

        23.    This Court has personal jurisdiction over Defendant LegitScript pursuant to Section

12 of the Clayton Act, 15 U.S.C. § 22, because LegitScript may be found or transacts business

in Oregon, as demonstrated by its state of incorporation. In light of LegitScript’s presence in

Oregon, the exercise of jurisdiction over LegitScript would not offend traditional notions of fair

play and substantial justice. Further, LegitScript’s unlawful conduct alleged herein has impacted

and restricted pharmacies’ and patients’ access to compounded products in Oregon, and the

effects of LegitScript’s unlawful conduct has been felt by pharmaceutical customers and patients

in this district.

        24.    Venue is proper in this district pursuant to Section 12 of the Clayton Act, 15 U.S.C.

§ 22 because the domestic entity Defendant is incorporated within this district and has its

principal place of business in this district. Additionally, LegitScript maintains an active presence

in the district, having accredited and continuing to maintain and renew accreditations for

pharmacies in the State of Oregon.




Page 11 -           COMPLAINT
         Case 3:25-cv-00514-AB          Document 1         Filed 03/26/25     Page 16 of 123




                                  REGULATORY BACKGROUND

I.         Regulation of Compounding Organizations in the United States

             25.   Per the United States Food and Drug Administration (“FDA”), drug compounding

     is “a practice in which a licensed pharmacist, a licensed physician, or, in the case of an

     outsourcing facility, a person under the supervision of a licensed pharmacist, combines, mixes,

     or alters ingredients of a drug to create a medication tailored to the needs of an individual

     patient.”3

             26.   Compounding organizations are subject to multiple layers of laws and regulations

     including but not limited to, sections of the Food, Drug, and Cosmetics Act (“FD&C Act”), state

     statutes and regulations governing pharmacies, and controlled substance regulations.

             27.   In the United States, compounding organizations are separated into two

     designations: 503A and 503B, each corresponding with sections of the FD&C Act. Pharmacies

     classified under section 503A of the FD&C Act (21 U.S.C. § 353a) are those that compound

     products for specific patients whose prescriptions are sent by their healthcare provider.

     Meanwhile, outsourcing facilities classified under section 503B of the FD&C Act (21 U.S.C. §

     353b) are those that compound products on a larger scale (or bulk amounts) for healthcare

     providers to have on hand and administer to patients in their offices.

             28.   Section 503A of the FD&C Act (21 U.S.C. § 353a) also describes the conditions

     that must be satisfied for human drug products compounded by a licensed pharmacist in a

     state-licensed pharmacy or federal facility, or by a licensed physician, to be exempted from

     FD&C Act sections on FDA approval prior to marketing, cGMP requirements, and labeling with



3
 U.S. Food & Drug Admin., Human Drug Compounding, https://www.fda.gov/drugs/guidance-
compliance-regulatory-information/human-drug-compounding (last visited Mar. 22, 2025).
  Page 12 - COMPLAINT
        Case 3:25-cv-00514-AB           Document 1     Filed 03/26/25      Page 17 of 123




    adequate directions for use.4 Additionally, 503A pharmacies are also regulated by state boards

    of pharmacies and adhere to certain United States Pharmacopeia (“USP”) standards5—

    specifically, USP 797 (pharmaceutical compounding – sterile preparations), 795 (pharmaceutical

    compounding – nonsterile preparations), and 800 (hazardous drugs – handling in healthcare

    settings).

            29.   In 2013, Section 503B of the FD&C Act (21 U.S.C. § 353b) was signed into law,

    creating a new category of compounders known as “outsourcing facilities.” Section 503B

    outsourcing facilities are subject to cGMP requirements and are permitted to distribute

    compounded drugs either pursuant to a patient-specific prescription or in response to an order

    from a health care provider (e.g., a hospital).

            30. The FDA uses a variety of means to ensure that compounding organizations comply

    with regulations and are adhering to safe practices when manufacturing products. The main

    regulatory standard for ensuring pharmaceutical quality is the Current Good Manufacturing

    Practice or cGMP. Enforced by the FDA, cGMP provides for systems that assure proper design,

    monitoring, and control of manufacturing processes and facilities. As stated, the FDA requires

    503B outsourcing facilities to be cGMP-compliant. To be cGMP-compliant, a 503B outsourcing



4
  Section 503A requires that all drugs be compounded by a licensed physician or pharmacist;
compounded drugs must be for identified individual patient use based on the receipt of a valid
prescription issued by a medical provider, or such drugs must be prepared in anticipation of the
receipt of such a prescription, provided that there is a patient-physician history between the
prescriber and the pharmacist and other conditions are met. See 21 U.S.C. § 353a. If satisfied, the
compounded drug product is exempted from three sections of the FD&C Act: (1) section
501(a)(2)(B) concerning cGMP requirements; (2) section 502(f)(1) concerning the labeling of
drugs with adequate directions for use; and (3) section 505 concerning approval of drugs under
new drugs applications or abbreviated new drug applications.
5
  USP is an independent, nonprofit organization that develops and promulgates certain standards
applicable to the pharmaceutical industry. See USP Ref. Standards, U.S. Pharmacopeia,
https://www.usp.org/reference-standards (last visited Mar. 22, 2025).
   Page 13 - COMPLAINT
        Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25        Page 18 of 123




    facility must establish strong quality management systems, obtain appropriate quality raw

    materials, establish robust operating procedures, have the ability to detect and investigate

    product quality deviations, and maintain reliable testing laboratories. 6

           31.   Compounders at FDA-registered 503A pharmacies and 503B outsourcing facilities

    may use bulk drug substances, also known as active pharmaceutical ingredients (“API”), in the

    compounding process. Sections 503A and 503B of the FD&C Act limit the types of bulk drug

    substances that can be used in compounding. In general, adding drugs to a bulk drug list means

    that pharmacies can use those drugs as active ingredients in compounded medications so long as

    other conditions are also met. The FDA maintains separate bulk substances lists for 503A

    pharmacies (the “503A Bulk Drug Substances List”) and 503B outsourcing facilities (the “503B

    Bulk Drug Substances List”).

           32.   The FDA also maintains a drug shortages list.7 The FDA defines a drug shortage

    as “a period of time when the demand or projected demand for the drug within the United States

    exceeds the supply of the drug.”8 The FDA tracks shortages at the national level and receives

    information from manufacturers about their ability to supply the market. The FDA considers a

    drug to be in shortage when, on a nationwide level, supply is not meeting current demand, or if

    supply is not forecasted to meet projected demand.

           33. Section 503A of the FD&C Act restricts compounding of drugs that are “essentially




6
  U.S. Food & Drug Admin., Facts About the Current Good Manufacturing Practice (CGMP),
https://www.fda.gov/drugs/pharmaceutical-quality-resources/facts-about-current-good-
manufacturing-practice-cgmp (last visited Mar. 22, 2025).
7
  U.S. Food & Drug Admin., FDA Drug Shortages, https://dps.fda.gov/drugshortages (last visited
Mar. 22, 2025).
8
   U.S. Food & Drug Admin., Frequently Asked Questions about Drug Shortages,
https://www.fda.gov/drugs/drug-shortages/frequently-asked-questions-about-drug-shortages.
   Page 14 - COMPLAINT
        Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25      Page 19 of 123




    copies of commercially available drugs.”9 Nonetheless, compounders operating under section

    503A are not banned entirely from compounding drugs that are essentially copies. Under Section

    503A, compounders operating under this section of the FD&C Act may compound certain

    amounts of drugs that are essentially copies so long as the compounding is not done “regularly

    or in inordinate amounts.” 21 U.S.C. § 353a. However, when the FDA determines that a certain

    drug is not commercially available and is added to the FDA’s drug shortages list, the limitation

    on 503A pharmacies’ ability to compound essentially copies is temporarily suspended.

           34.   Moreover, specifically for compounders classified as 503A pharmacies, a

    compounded drug is not considered to be an “essential copy” of an FDA-approved drug if it is

    altered specifically (i.e., tailored) for an identified patient and provides for that patient a

    “significant difference, as determined by the prescribing petitioner, between the compounded

    drug and the comparable commercially available drug.” See 21 U.S.C. § 353a(b)(2). Thus, in

    line with the purpose of 503A pharmacies, such compounders may compound and dispense drugs

    according to prescriptions specific to particular patients without regard to frequency or amount

    limitations described in 21 U.S.C. § 353a(b)(1)(D), § 353a(b)(2).

           35.   In contrast, 503B outsourcing facilities are ordinarily prohibited from compounding

    essentially copies of FDA-approved drugs in any amount (21 U.S.C. § 353b) unless there is a

    change that produces a “clinical difference” for the patient, as indicated by the provider and

    documented on the prescription. 21 U.S.C. § 353b(d)(2)(B). However, when the FDA places a

    drug on its shortages list, the restriction on 503B outsourcing facilities’ ability to compound


9
  The FDA considers a compounded drug product to be “essentially a copy of a commercially
available drug product” if the compounded drug has the same active pharmaceutical ingredient(s)
(“APIs”) as the commercially available drug product; the APIs have the same, similar, or an easily
substitutable dosage strength; and the commercially available drug product can be used by the
same route of administration as prescribed for the compounded drug.
   Page 15 - COMPLAINT
        Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25     Page 20 of 123




  essentially copies is temporarily suspended. Once a drug is added to the FDA shortages list,

  503B outsourcing facilities may use bulk drug substances (APIs) to compound that drug.

           36.    As mentioned, like 503A pharmacies, the FD&C Act does allow for 503B

  outsourcing facilities to compound drugs using the active ingredients in an FDA-approved drug

  not included on the 503B Bulk Drug Substances List if “there is a change that produces for an

  individual patient a clinical difference, as determined by the prescribing practitioner, between

  the compounded drug and the comparable approved drug.” 21 U.S.C. § 353b(d)(2)(B). Thus,

  503B outsourcing facilities may also compound specifically-altered drugs in limited

  circumstances.

           37.    Altogether, when shortages in a particular FDA-approved drug exist, compounding

  pharmacies and outsourcing facilities are legally permitted to produce and distribute their own

  copies of the medications at issue. And, in instances when a patient has a demonstrated need for

  a specifically altered drug that produces for an individual patient a clinical difference, as

  determined by a prescribing practitioner, between the compounded drug and the comparable

  approved drug, both 503A pharmacies and 503B outsourcing facilities are permitted by statute

  to compound the drug at issue.

II.      Relevant FDA Proposed Rules and Draft Guidelines

           38.    The FDA, most often through notice-and-comment rulemaking, has submitted

  proposed rules affecting the day-to-day operations of 503A compounding pharmacies and 503B

  outsourcing facilities in the period during which LegitScript carried out its unlawful conduct

  against Empower.

           39.    One such proposed rule pertains to “Drug Products or Categories of Drug Products

  That Present Demonstrable Difficulties for Compounding Under Sections 503A or 503B of the

      Page 16 -    COMPLAINT
    Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25        Page 21 of 123




Federal Food, Drug, and Cosmetic Act.” See 89 Fed. Reg. 19776 (proposed Mar. 20, 2024) (to

be codified at 21 C.F.R. pt. 216).

        40.   As a baseline, outsourcing facilities classified under 503B and compounding

pharmacies classified under 503A are prohibited from compounding drugs that have been

identified “directly or as a part of a category of drugs … on a list published by the Secretary …

of drugs or categories of drugs that present demonstrable difficulties for compounding that are

reasonably likely to lead to an adverse effect on the safety or effectiveness of the drug or category

of drugs, taking into the account the risks and benefits to patients.” 21 U.S.C. § 353B(a)(6)(A).

        41.   By statute, a drug product may not be compounded by a 503A pharmacy if it has

been “identified by the Secretary or regulation as a drug that presents demonstrable difficulties

for compounding that reasonably demonstrate an adverse effect on the safety or effectiveness of

that drug product.” 21 U.S.C § 353a(b)(3)(A).

        42.   Also by statute, a drug product may not be compounded by a 503B outsourcing

facility if it has been “identified (directly or as part of a category of drugs) on a list published by

the Secretary … of drugs or categories of drugs that present demonstrable difficulties for

compounding that are reasonably likely to lead to an adverse effect on the safety or effectiveness

of the drug or category of drugs, taking into account the risks and benefits to patients.” 21 U.S.C.

§ 353B(a)(6).

        43.   To this end, on or around March 20, 2024, the FDA proposed a rule establishing

criteria for listing drug products or categories of drug products that present demonstrable

difficulties for compounding—i.e., “Demonstrable Difficulties for Compounding Lists” (“DDC




Page 17 -       COMPLAINT
         Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 22 of 123




     Lists”).10 Pursuant to the FDA’s proposal, the Agency would create and maintain lists of drug

     products or categories of drug products that cannot be compounded because they present

     demonstrable difficulties for compounding (see 21 U.S.C. §§ 353a-b); the FDA would create and

     maintain two separate lists: one for compounders covered by 503A, and one for outsourcing

     facilities covered by 503B. The FDA has also proposed six (6) criteria it would use to assess

     whether a drug product or categories of drug products should be added to its DDC Lists.

     Moreover, the FDA has identified three (3) categories of drug products it proposes to include on

     the DDC Lists. Under the FDA’s proposed rule, once added to a DDC List, these drug products

     or categories of drug products, if compounded, would not qualify for the exemptions from the

     provisions of the FD&C Act discussed previously. In other words, “[d]rug products or categories

     of drug products that appear on the DDC Lists … may not be compounded under either section

     503A or section 503B, respectively.” As of March 11, 2025, this proposed rule has not yet been

     finalized.

            44.   From time to time, the FDA will also publish draft guidance pursuant to 21 C.F.R.

     10.115(b). While these guidance documents do not establish legally enforceable responsibilities

     and thus are not binding on the FDA or the public, they do describe the Agency’s current thinking

     on a topic and are typically viewed only as recommendations (non-binding), unless specific

     regulatory or statutory requirements are cited.

            45.   Relevant to the facts of this Complaint is an FDA draft guidance published and

     distributed on around June 28, 2023 entitled: “Prohibition on Wholesaling Under Section 503B

     of the Federal Food, Drug, and Cosmetic Act Guidance for Industry.” U.S. Food & Drug Admin.,


10
  See Drug Products or Categories of Drug Products That Present Demonstrable Difficulties for
Compounding Under Sections 503A or 503B of the Federal Food, Drug, and Cosmetic Act, 89
Fed. Reg. 19776 (proposed Mar. 20, 2024) (to be codified at 21 C.F.R. pt. 216).
  Page 18 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 23 of 123




     Prohibition on Wholesaling Under Section 503B of the Federal Food, Drug, and Cosmetic Act

     Guidance for Industry: Draft Guidance (2023) (“Draft Guidance on Wholesaling”).

            46.   Under section 503B of the FD&C Act, one of the conditions that must be met for a

     drug compounded by an outsourcing facility to qualify for the exemptions in section 503B of the

     FD&C Act is that the drug “will not be sold or transferred by an entity other than the outsourcing

     facility that compounded such drug.” 21 U.S.C. § 353(b)(A)(8). This rule limiting to whom

     503B outsourcing facilities may sell or transfer11 their compounded drug products is known as

     the “prohibition on wholesaling.”        The FD&C Act, however, “does not prohibit the

     administration of a drug in a health care setting or dispensing a drug pursuant to a prescription

     executed in accordance with section 503(b)(1) [21 U.S.C. § 353(b)(1)].” Id.

            47.   On or around June 28, 2023, the FDA published its Draft Guidance on Wholesaling

     explaining its current thinking on the prohibition on wholesaling. The FDA explained that it

     “interprets this provision to mean that a drug compounded by an outsourcing facility may be

     eligible for the exemptions in section 503B of the FD&C Act where the drug is distributed

     directly from an outsourcing facility to a health care facility, such as a hospital or clinic, where

     the drug is administered to a patient, or to a State-licensed pharmacy or Federal facility where

     the drug is dispensed pursuant to a prescription executed in accordance with section 503(b)(1)

     of the FD&C Act.” Id. at 6, 9 (emphases added). This language has been interpreted to mean

     that a 503B outsourcing facility may supply medications to a state-licensed 503A pharmacy



11
  Per FDA interpretation, the phrase “‘sold or transferred by an entity other than the outsourcing
facility,’ as used in section 503B(a)(8) of the FD&C Act, encompasses instances when an entity
other than the outsourcing facility that compounded a drug has sold or transferred the drug.
Transfers, for purposes of this provision, encompass movements of the drug from one entity to
another, regardless of whether the drug was sold as part of the transfer.” Draft Guidance on
Wholesaling at 4.
   Page 19 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 24 of 123




     which dispenses the drug directly to a patient pursuant to a valid prescription. Accordingly, the

     express language in the FDA’s Draft Guidance on Wholesaling opened the door to increased

     partnerships between 503A state-licensed pharmacies or federal facilities and 503B outsourcing

     facilities.

III.       FDA Form 483s and Warning Letters

             48.   To assess compliance with cGMP standards, adequacy of the manufacturing

     processes, and quality of facilities’ products on the market, the FDA routinely performs

     surveillance inspections for 503B facilities. While the FDA typically defers to state officials to

     inspect 503A state-licensed pharmacies, the FDA may choose to conduct an inspection, with or

     without the involvement of state investigators.

             49.   After an inspection, the FDA may issue an FDA Form 483 (“Form 483”), which

     details a series of observations from an investigator(s) on any conditions that, in their judgment,

     may constitute violations of the FD&C Act, cGMP standards, and related Acts, or otherwise

     indicate a drug consists in part of any filthy substance or has been packed in an unsanitary

     condition or the like.12    The Form 483, however, “does not constitute a final Agency

     determination of whether any condition is in violation of the FD&C Act or any of its relevant

     regulations.”13 The recipient of a Form 483 is encouraged to respond in fifteen days explaining

     how the entity that was subject to inspection plans to correct the findings from an inspection.

     The firm may also raise disagreements with the inspector’s observations and detail the reasons

     it believes that the findings in the Form 483 were unwarranted.



12
  See Section 704(b) of the FD&C Act, 21 U.S.C. § 374.
13
  U.S. Food & Drug Admin., FDA Form 483 Frequently Asked Questions, https://www.fda.gov/
inspections-compliance-enforcement-and-criminal-investigations/inspection-references/fda-
form-483-frequently-asked-questions (last visited Mar. 22, 2025) (emphasis added).
   Page 20 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1       Filed 03/26/25      Page 25 of 123




            50.   A firm’s response to an FDA Form 483 triggers one of two outcomes: either the

     response is satisfactory and the matters are deemed resolved, or the response is insufficient and

     a Warning Letter or, if more serious, other enforcement action will ensue. The FDA may—but

     is not required to—send a closeout letter or Establishment Inspection Report (“EIR”) to

     acknowledge it received the recipient’s response and deem the matters resolved, but this

     confirmation is not guaranteed.14

            51.   Warning Letters are more official notices that could include concerns such as poor

     manufacturing practices, problems with claims for what a product can do, or incorrect directions

     for use. However, even a Warning Letter is “informal and advisory” and communicates the

     agency’s position on a matter, but it does not commit FDA to [take] enforcement action.”15 Thus,

     like a Form 483, the “FDA does not consider Warning Letters to be final agency action on which

     [the FDA] can be sued.”16

            52.   Like a Form 483, a Warning Letter provides the recipient an opportunity to address

     the FDA’s concerns and requires a response. Responses can consist of correction plans, which

     the FDA reviews and ensures are adequate. Recipients that disagree with the FDA’s basis for its

     concerns can choose to supply the FDA with its reasoning and supporting information. The FDA

     instructs that “[m]atters described in the FDA warning letters may have been subject to




14
   See U.S. Food & Drug Admin., About Warning and Close-Out Ltrs., https://www.fda.gov/
inspections-compliance-enforcement-and-criminal-investigations/warning-letters/about-warning-
and-close-out-letters, (last visited Mar. 22, 2025) (“FDA may issue a Warning Letter close-out
letter … once the Agency has completed an evaluation of corrective actions undertaken by a firm
in response to a Warning Letter[.]”) (emphasis added).
15
   Advisory Actions, 4-1 FDA Regulatory Procedures Manual, July 2024.
16
   Id.
   Page 21 - COMPLAINT
         Case 3:25-cv-00514-AB                Document 1   Filed 03/26/25     Page 26 of 123




     subsequent interaction between FDA and the letter recipient that may have changed the

     regulatory status of issues letter.”17

             53.   The FDA is not required to “close-out” a Form 483 or a Warning Letter. After

     issuing a Form 483, the FDA can elect to take no further action and there is no timeline in which

     the FDA must make a final decision.18 Pursuant to this process, a final decision can, therefore,

     be pending indefinitely.19 LegitScript has accordingly certified entities that have received Form

     483s and Warning Letters.

             54.   Neither the Form 483 nor Warning Letter constitute a regulatory violation. As

     described above, the Form 483 sets out inspection observations and the Warning Letter sets out

     the FDA’s observations and conclusions which require remedial action or a response. The Form

     483 and Warning Letter are not dispositive as to whether the pharmacy’s actions have violated

     the FD&C Act or otherwise, and the FDA may simply decide not to take any action to close out

     a Form 483 and Warning Letters.

IV.        The FDA Adds Injectable GLP-1 Medications to its Drug Shortages List

             55.   GLP-1 drugs are a class of medications that mimic the action of the glucagon-like

     peptide-1 hormone, which is involved in the regulation of blood sugar levels. For a number of

     years, GLP-1 medications have been used to treat Type 2 diabetes. More recently, GLP-1




17
   Warning Letters, Compliance Actions and Activities, FDA, https://www.fda.gov/inspections-
compliance-enforcement-and-criminal-investigations/compliance-actions-and-activities/warning-
letters (last visited Mar. 22, 2025).
18
   Under 21 CFR § 20.64(d)(3), “The consideration of regulatory enforcement action based upon
a particular record shall be deemed to be closed with the meaning of this action . . . [i]f it relates
to administrative action, when a final decision has been made not to take such action or such
action has been taken and the matter has been concluded.” 21 CFR § 20.64(d)(3) (emphasis
added).
19
   21 CFR § 20.64(d)(3).
   Page 22 - COMPLAINT
         Case 3:25-cv-00514-AB             Document 1      Filed 03/26/25    Page 27 of 123




     medications have skyrocketed in popularity, gaining traction as “weight loss agents.”20

     According to published studies, while “[t]he amount of new patients prescribed GLP-1s for

     diabetes decreased by almost 10% between 2011 and 2023 … those who were prescribed the

     drugs for obesity or other obesity-related conditions more than doubled during the same time

     period, particularly since 2020.”21

            56.   Starting in spring 2022 through December 2024, four GLP-1 medications,

     including those indicated for weight loss (as opposed to indicated only for use to treat Type 2

     diabetes) were added to the FDA’s drug shortage list due to a major increase in patient demand.

            57.   On March 31, 2022, the FDA placed semaglutide injections, known by their brand

     names, Ozempic® and Wegovy®, on the shortage list.

            58.   On or around December 15, 2022, the FDA placed tirzepatide—by brand names,

     Mounjaro® and Zepbound®—on the drug shortage list due to increased demand for the drug.

            59.   Ozempic®, Wegovy®, Mounjaro®, and Zepbound® are all manufactured and

     distributed by major pharmaceutical companies.

            60.   The addition of semaglutide and tirzepatide to the FDA drug shortage list created

     an opening for compounding pharmacies and outsourcing facilities to compound semaglutide

     and tirzepatide to help ease the effects of the drug shortages.




20
   Grace Niewijk, Research shows GLP-1 receptor agonist drugs are effective but come with
complex concerns, Univ. of Chicago Medicine, (May 30, 2024). https://www.uchicagomedicine.
org/forefront/research-and-discoveries-articles/research-on-glp-1-drugs.
21
   Arianna Johnson, GLP-1s Are Growing In Popularity For Weight Loss But Losing Steam Among
People with Diabetes, Study Suggests, Forbes, (July 23, 2024) https://www.forbes.com/sites/
ariannajohnson/2024/07/22/glp-1s-are-growing-in-popularity-as-weight-loss-drugs-but-losing-
steam-among-diabetics-study-suggests/ (citing a study published in the Annals of Internal
Medicine).
   Page 23 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1       Filed 03/26/25       Page 28 of 123




            61.   On December 19, 2024, the FDA issued a decision declaring that shortages of

     tirzepatide injection products (Mounjaro® and Zepbound®) had been resolved.22 To prevent

     disruptions in distribution, the FDA announced it would not immediately take enforcement

     actions in connection with litigation on compounding pharmacies and outsourcing facilities

     currently compounding essentially copies of tirzepatide injections. The FDA announced that,

     for state-licensed pharmacies under section 503A that are compounding, distributing, or

     dispensing tirzepatide injections, it would begin enforcement on February 18, 2025, 60 days

     from the date of the announcement declaring an end to the shortage. For outsourcing facilities

     operating under section 503B that are compounding, distributing, or dispensing tirzepatide, the

     FDA would begin enforcement on March 19, 2025, 90 days from the date of the announcement

     declaring an end to the shortage.

            62.   The FDA’s decision to remove tirzepatide from the drug shortage list was

     immediately challenged by Outsourcing Facilities Association and North American Custom

     Laboratories, L.L.C. (d/b/a Farmekeio Custom Compounding).23 On or around October 11,

     2024, the FDA announced that it would not take enforcement action against the plaintiffs and

     their members while it reevaluated the decision to remove tirzepatide from the drug shortage list.

            63.   The manufacturer of semaglutide injections known by their brand names,

     Ozempic® and Wegovy®, pushed back on the FDA’s addition of semaglutide to the FDA

     Shortages List and 503B Bulk Drug Substances List. On or around October 21, 2024, the

     manufacturer, through its counsel, submitted a Citizen Petition pursuant to 21 C.F.R. § 10.30 to



22
   U.S. Food & Drug Administration, Declaratory Order: Resolution of Shortages of Tirzepatide
Injection Products (Mounjaro® and Zepbound®) (Dec. 19, 2024).
23
   Complaint, Outsourcing Facilities Assoc. v. FDA, No. 4:24-cv-953 (N.D. Tex. Oct. 7, 2024),
ECF No. 1.
   Page 24 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 29 of 123




     the FDA to oppose the Outsourcing Facilities Association’s nomination of semaglutide to the

     503B Bulk Drug Substances List. In sum, the Petition argued that the addition of semaglutide

     to the 503B Bulk Drug Substances list would be improper because nothing about the FDA-

     approved semaglutide medications “ma[d]e them medically unsuitable to treat certain patients,”

     arguing that there is no “clinical need to compound semaglutide medications.”24

            64.   At the same time, on or around October 22, 2024, the manufacturer, through its

     counsel, also nominated semaglutide products to the list of drug products that “present

     demonstrable difficulties for compounding pursuant to the [FD&C Act]” sections 503A(b)(3)

     and 503B(a)(6). As previously noted, while the final proposed rule has not been made public, if

     semaglutide products were to be added to the FDA’s DDC List once the proposed rule is

     finalized, semaglutide products would not qualify for statutory exemptions, and therefore could

     not be legally compounded under sections 503A or 503B, respectively.

            65.   The FDA announced on February 21, 2025, that there was no longer a shortage of

     Ozempic® and Wegovy®. As it did when tirzepatide was taken off the shortage list, the FDA

     stated that compounding pharmacies would be given a grace period of 60 to 90 days. The

     Outsourcing Facilities Association filed a lawsuit against the FDA on February 24, 2025, for

     declaring that the shortage of Ozempic® and Wegovy® was over.

                                  BACKGROUND ON EMPOWER

            66.   Founded in 2008 by Shaun Noorian, Empower provides compounding and

     outsourcing services that specialize in creating patient-specific medications tailored to individual


24
  Per FDA rules governing compounding, a drug may be compounded for a patient who cannot
be treated with an FDA-approved medication, such as a patient who has an allergy to a certain dye
and needs a medication to be made without it, or an elderly patient or a child who cannot swallow
a tablet or capsule and needs a medicine in a liquid dosage form. In this situation, the FDA
considers there to be a “clinical need” to compound the drug at issue.
   Page 25 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 30 of 123




needs. From the outset, Empower has dedicated itself to providing access to quality, affordable

products through the compounding process. Empower’s mission is “[t]o produce innovative

medications to help people live healthier, happier lives.”

       67.   Empower operates a 503A pharmacy under the name “Empower Pharmacy.”

Separately, Empower operates a cGMP-compliant 503B outsourcing facility in Texas and is

opening another in New Jersey under the name “Empower Pharma.” Through both arms of

Empower’s business, Empower is able to create personalized products for specific patients and

help ease drug shortages by fulfilling excess demand and providing access to specialized

medications to patients, providers, hospitals, clinics, and pharmacies.

       68.   Empower’s first FDA-registered 503B Outsourcing Facility opened in 2016. In

2021, Empower opened a new facility in Houston, Texas. In 2024, Empower expanded its 503B

outsourcing capabilities by acquiring a new outsourcing facility in New Jersey. In compliance

with FDA regulations, Empower’s 503B outsourcing facilities all meet cGMP standards.

       69.   Empower Pharmacy is Pharmacy Compounding Accreditation Board (“PCAB”)

certified, having obtained its PCAB accreditation in 2017. PCAB accreditation is a system of

quality and safety standards created by leading experts in the compounding pharmacy industry.

The accreditation process is rigorous and includes steps such as extensive on-site inspections

and a close review by experts of an applicant’s compounding policies and procedures.

       70.   Within its first few years in operation, Empower Pharmacy achieved licensure in

all 50 states, enabling it to ship compounded products to patients nationwide.

       71.   Empower Pharmacy is also authorized to dispense, administer, distribute, and

compound controlled substances by the United States Drug Enforcement Agency (“DEA”).

Empower Pharmacy is in good standing with the DEA and, like all areas of Empower’s business,

Page 26 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25      Page 31 of 123




has robust operating procedures in place to prevent and minimize the diversion of controlled

substances.

       72.    Since Empower’s founding, it has continued to grow, increasing the number of

patients it is able to serve, and thereby improving patients’ access to affordable medications

tailored to their specific needs. Throughout the growth process, Empower has maintained a

demonstrated commitment to ensuring the safety and quality of the products it compounds. For

example, Empower has continually maintained its PCAB Accreditation. Moreover, Empower

has invested substantial resources into its safety and compliance program.

       73.    A core part of Empower’s business model is its commitment to applying innovative

technology solutions to help grow its business and serve more patients. Empower’s integration

of technology into its operations has set it apart from other compounding pharmacies, increasing

its ability to efficiently compound products safely. As of 2023, Empower Pharmacy—its 503A

pharmacy—was filling approximately 15,000 custom-compounded prescriptions a day, helping

millions of patients access medications to improve their quality of life. Empower’s ability to

safely and dependably compound and dispense this volume of compounded products is one of

the primary characteristics that differentiates it from other compounding pharmacies. Empower

Pharmacy is the only compounding pharmacy capable of compounding and dispensing this

volume.

       74.    Empower is capable of compounding a wide variety of products spanning across a

multitude of treatment areas which include men’s and women’s health, weight management,

longevity, dermatology, hormone replacement, IV nutrition, sexual health, and mental health.

Empower only compounds and ships products that are permitted to be compounded under federal

and state laws and regulations.

Page 27 -      COMPLAINT
         Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 32 of 123




      LEGITSCRIPT’S UNREASONABLE RESTRAINTS OF TRADE, COMMERCIAL
               DISPARAGEMENT, AND TORTIOUS INTERFERENCE

I.        LegitScript Unreasonably Restrained Trade by Orchestrating a Group Boycott,
          Tying Certification to the Purchase of Products from LegitScript-Certified
          Competitors, and Tortiously Interfering with Empower’s Existing and Prospective
          Business Relations.

            75.   Empower’s business depends on its ability to sell and distribute its products to

     customers who interact directly with patients seeking compounded products. These distribution

     channels necessarily include telemedicine providers and online pharmacies that contract with

     Empower for the supply of compounded products and that need a LegitScript Certification to

     advertise on leading internet and social media platforms.25

            76.   LegitScript has engaged in the biased and discriminatory enforcement of rules it

     imposes on applicants seeking certification in a manner that has directly impacted Empower and

     unreasonably restrained competition. Due to LegitScript’s power in the market for certification

     of telemedicine providers and online pharmacies and its self-appointed function as a gatekeeper

     for such entities seeking to advertise with the leading search engine and social media platforms,

     LegitScript is in a position to impose terms and conditions on applicants for certification that

     they cannot afford to refuse and that would not be accepted in a competitive market.

     LegitScript’s monopoly power has allowed it to go beyond the mere announcement of its terms

     and conditions and to enforce them in a biased and discriminatory manner against Empower,

     thereby depriving Empower of free and fair access to distribution channels and customers needed


25
   Generally, telemedicine can be defined as the use of telecommunications technologies to support
the delivery of medical, diagnostic, and treatment-related services usually by doctors. U.S. FCC,
Telehealth, Telemedicine, and Telecare: What’s What, https://www.fcc.gov/general/telehealth-
telemedicine-and-telecare-whats-what (last visited Mar. 22, 2025). Generally, the term “online
pharmacy … means a person, entity, or Internet site, whether in the United States or abroad, that
knowingly or intentionally delivers, distributes, or dispenses, or offers or attempts to deliver,
distribute, or dispense, a controlled substance by means of the Internet.” 21 U.S.C. § 802(52)(A).
   Page 28 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 33 of 123




to compete on the merits against entities that are LegitScript-certified. This is not a new tactic

employed by an organization seeking to set standards for an industry, but rather one that has been

repeatedly rejected by the Supreme Court in instances such as this in which a private entity seeks

to impose rules that advantage members of an association or entities that have been approved by

an organization to the competitive disadvantage of those that have not.

        A.     LegitScript Has Enforced Its “Affiliates” Rule in a Biased Manner to Unlawfully
               Coerce Customers to Stop Doing Business with Empower to the Competitive
               Advantage of Entities It Has Already Certified.

         77.   In connection with its Healthcare Merchant Certification, LegitScript has adopted

and enforced an “Affiliates” rule to prohibit entities that are LegitScript-certified or seeking

certification from doing business with Empower and other entities that are not

LegitScript-certified, to the competitive advantage of entities that are already certified.

               i.      LegitScript Has Adopted Increasingly Anticompetitive Rules Prohibiting
                       Applicants and LegitScript-Certified Entities from Doing Business with
                       Entities that Are Not LegitScript-Certified.

         78.   LegitScript’s Healthcare Merchant Certification Terms and Conditions provided in

connection with its Healthcare Merchant Certification Standards previously included a provision

stating that “any person or entity that exercises control over, or participates in, the business must

not be affiliated with or control any other entity that violates these standards.” Ex. 1 at 2; Ex. 2

at 3.

         79.   Sometime thereafter in or around May 2022, LegitScript updated its Healthcare

Merchant Certification Standards to expand its interpretation of its “Affiliates” rule. In addition

to the more typical understanding of “Affiliates,” referring to entities that exercise control over

or directly participate in the business, the term “Affiliates” was expanded to further include “any

individual, business, or entity who previously, currently, or is expected to have a commercial

Page 29 -           COMPLAINT
     Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 34 of 123




 and/or professional relationship with the applicant organization or its principals.” For example,

 this includes, but is not limited to, supplying “wholesalers, co-owned companies, and partner

 pharmacies.” Ex. 3 at 2 (emphasis added).

         80.   Empower and suppliers, however, generally are not “affiliates” of their customers

 in the legal sense such that it is suspiciously strained to apply such a designation in this context.

 The term “affiliate” instead is commonly understood to refer to a corporation that is related to

 another corporation by shareholdings or that is effectively controlled by another entity as a result

 of common ownership, more in line with LegitScript’s original definition of the term. However,

 to be clear, none of the customers that LegitScript has prohibited from doing business with

 Empower are controlled by common ownership governing Empower.

         81.   In any event, prior to 2022, LegitScript’s “Affiliates” rule notably excluded “partner

 pharmacies” from its definition. Over time, however, LegitScript required applicants not only

 to provide more information relating to the pharmacies with which they did business on the basis

 that they were purported “affiliates,” but further began requiring that pharmacy suppliers either

 already be LegitScript-certified or become LegitScript-certified.

         82.   By no later than January 2025, LegitScript’s Healthcare Certification

 Questionnaire, which provides “the questions that merchants are required to answer when

 applying for LegitScript Healthcare Certification,” stated as follows:

               Does your business utilize a partner pharmacy? A partner pharmacy is
               defined as a pharmacy utilized by an applying entity to fulfill and dispense
               prescription medication orders to patients of the applying entity. Please
               note, partner pharmacies are required to be certified through
               LegitScript.

Ex. 4 at 4 (emphasis added).




  Page 30 -     COMPLAINT
     Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 35 of 123




         83.   In short, LegitScript defined pharmacy suppliers as “affiliates” and then

 increasingly prohibited customer applicants and LegitScript-certified entities from doing

 business with purported “affiliates” or pharmacies that were not LegitScript-certified for some

 basis other than competition on the merits.

         84.   LegitScript’s Application Certification Checklist further asked applicants if they

 had “searched and verified your partner pharmacy’s LegitScript Certification status” to

 determine if their partner pharmacy is “‘Certified’ or ‘Legitimate’: If yes, great. Please be ready

 to have the pharmacy representative email us to confirm this affiliation. If not, please confirm

 they are ready and willing to apply for their own certification.” Ex. 5 at 2.

         85.   Notably, as discussed below, Empower was not only “ready and willing” to apply

 for its own certification, but repeatedly sought certification only to be denied certification based

 on pretextual and discriminatory interpretations of LegitScript’s standards.

         86.   As of January 2025, LegitScript’s Healthcare Questionnaire further instructed,

 “Please note, all partner pharmacies are required to be certified through LegitScript.” Ex. 4

 at 4 (emphasis added).

         87.   Most recently, however, LegitScript has further updated its Healthcare Merchant

 Certification Standards to provide that:

               A merchant’s partners, defined as organizations essential to supporting the
               applicant’s continuum of care, such as partner pharmacies responsible
               for the fulfillment of prescription medication to patients, are generally
               required to be LegitScript-certified or accredited by another recognized
               body, with limited exceptions permitted only at LegitScript’s sole
               discretion.

Ex. 6 at 2 (emphasis added).

         88.   LegitScript’s changes over time to this “Affiliates” rule as it pertains to partner

 pharmacies suggest that it has agreed to make exceptions to this rule to the benefit of some, but
  Page 31 -     COMPLAINT
    Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25       Page 36 of 123




not all, LegitScript-certified entities or their suppliers to the competitive disadvantage of

Empower and other suppliers to entities that have not benefited from LegitScript’s agreement to

arbitrarily lessen restrictions on only certain LegitScript-certified entities and their pharmacy

partners. The fact that LegitScript has not always required that its applicants and certified entities

purchase solely from LegitScript-certified entities—both before LegitScript implemented the

rule and now with respect to exceptions LegitScript arbitrarily makes to the rule—demonstrates

that the rule is not reasonably necessary to achieve any procompetitive benefit and thus

unreasonably and unjustifiably restrains competition.

       89.   Moreover, if this revised rule were fairly applied to Empower, Empower would

likewise benefit from this exception as a result of “being accredited by another recognized body,”

namely PCAB.

       90.   But to the contrary, as described below, LegitScript has instead continued to

prohibit LegitScript-certified entities and applicants from doing business with Empower, thereby

restraining Empower’s ability to compete on a level playing field against any pharmacy partners

that LegitScript agrees to provide a competitive advantage by permitting them to supply

LegitScript-certified entities and applicants under its admittedly “limited exception” to its

otherwise prohibitive “Affiliates” rule.

       91.   LegitScript’s rules further require that applicants “fully disclose affiliates in the

application” as well as any business the applicant “is expected to have a commercial and/or

professional relationship with” and that the “failure to disclose all Affiliates may result in denial

or revocation of the application.” Ex. 7 at 1.

       92.   As discussed below, Empower’s customers have correspondingly communicated

that they had informed LegitScript that Empower had a supply agreement with them and that

Page 32 -      COMPLAINT
Case 3:25-cv-00514-AB   Document 1   Filed 03/26/25   Page 37 of 123
         Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 38 of 123




            96.   While ratcheting up the restriction, in early February 2022, at least one customer

     still did not understand LegitScript’s position as one fully prohibiting the customer from working

     with Empower. On or around February 22, 2022, a LegitScript representative told a telehealth

     service provider customer applying for LegitScript Certification, that “[a]n affiliation with

     Empower Pharmacy (empowerpharmacy.com) could … constitute a barrier to certification, in

     line with LegitScript Certification Standard #6 on Affiliates.” See Ex. 8 at 3 (emphasis added).26

            97.   By November 2023, however, LegitScript’s enforcement of its “Affiliates” rule had

     escalated. LegitScript began enforcing the rule against Empower, even though by its own

     admissions, the rule did not necessarily apply to Empower, which it conceded at the time was

     not “partnered” with the customer. On or around November 2, 2023, a LegitScript representative

     stated to one of Empower’s customers at the time that:

                  We understand [Empower’s customer] is not partnered with Empower
                  Pharmacy. However, LegitScript Certification Standard 7: Affiliates,
                  states “a merchant’s Affiliates must comply with all program standards.
                  This means any person or entity that exercises control over or participates
                  in the business, including but not limited to, pharmacy, business or medical
                  practice, website, staff, any associated medical personnel, must not be
                  affiliated with or control any other entity that violates these standards.”

The LegitScript representative concluded by informing Empower’s customer in no uncertain terms

that “[a]ffiliation with Empower Pharmacy would therefore constitute a barrier to certification

…. [The customer] will need to find a new pharmacy in order to move forward in the review

process.” LegitScript’s biased and discriminatory application of the “Affiliates” rule against

Empower despite acknowledging it should not apply on the face of the rule supports the conclusion

that LegitScript has been stretching and broadening its rules to block competition from Empower.



26
  As of November 2024, LegitScript’s “Affiliates” rule was Certification Standard 7 (Ex. 3 at 2)
and was later changed to Certification Standard 5 (Ex. 6 at 2).
  Page 34 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25         Page 39 of 123




        98.   As it turned out, LegitScript’s escalated enforcement of its “Affiliates” rule against

Empower in November 2023 was no fluke. In an email dated December 27, 2023, from the

LegitScript Certification Team to another Empower telemedicine customer, LegitScript stated:

“Affiliation with Empower Pharmacy would … constitute a barrier to certification … under

LegitScript Healthcare Merchant Certification Standard 7: Affiliates” (emphasis added).

        99.   Thereafter, LegitScript continued to aggressively enforce its “Affiliates” rule into

2024 and began singling out a business relationship with Empower as a barrier to certification.

For example, on or around January 22, 2024, another Empower customer was informed by a

member of LegitScript’s certification team that “we [LegitScript] do not allowed [sic] any of

our certified clients to work with Empower Pharmacy.” Earlier in the same email chain, the

LegitScript representative also informed Empower’s customer that: “We do not frequently deny

applications unless applicants are unwilling to come into compliance,” implying that

Empower’s failure to become LegitScript certified was due to an unwillingness to comply with

LegitScript standards.    In response to LegitScript’s email, Empower’s customer informed

LegitScript that it                                             Ex. 9 at 1.

        100. LegitScript’s admission that it has the power not to “allow” or to prohibit all of its

applicants and “certified clients” from working with Empower reflects LegitScript’s market

power, as does the applicants’ agreement to be bound by LegitScript’s anticompetitive and

exclusionary rule directed at Empower.

        101. LegitScript’s communications singling out Empower to its customers continued

thereafter. On or around August 5, 2024, another Empower customer informed Empower:




Page 35 -      COMPLAINT
    Case 3:25-cv-00514-AB         Document 1        Filed 03/26/25     Page 40 of 123




The representative consequently asked to confirm that Empower had closed its account.

       102. While LegitScript previously informed Empower’s customers that an affiliation

with Empower “could” constitute a barrier to certification, by no later than November 2, 2023,

and continuing thereafter, LegitScript has exercised its market power by requiring Empower’s

customers to stop doing business with Empower in contrast to what those customers would

otherwise do in a competitive market absent LegitScript’s coercion.

       103. From there, LegitScript outlined only one path forward for Empower’s customers

if they wanted to move forward with their LegitScript Certification and, ultimately, to become

LegitScript certified: comply with LegitScript’s “Affiliates” rule and “find a new pharmacy in

order to move forward in the review process.”

       104. Language from LegitScript’s Healthcare Certification Questionnaire uploaded in

January 2025 made it equally clear that applicants for certification could only partner with

LegitScript-certified pharmacies. LegitScript’s Questionnaire asked applicants: “Does your

business utilize a partner pharmacy?” The Questionnaire then went on to state: “A partner

pharmacy is defined as a pharmacy utilized by an applying entity to fulfill and dispense

prescription medication orders to patients of the applying entity.      Please note, partner

pharmacies are required to be certified through LegitScript.” Ex. 4 at 4 (emphasis added).

       105. Accordingly, LegitScript used to tell Empower’s customers that LegitScript could

certify them irrespective of whether Empower was certified by LegitScript or not, so long as

Empower “ships out medication[s] [that] are licensed,” but then began affirmatively requiring

that the customers stop doing business with Empower in order to become LegitScript-certified.



Page 36 -     COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 41 of 123




       106. The fact that LegitScript did not previously require pharmacy suppliers like

Empower to be LegitScript-certified—and only that pharmacy suppliers had to be “licensed”—

demonstrates that LegitScript’s increasingly anticompetitive interpretation and enforcement of

the “Affiliates” rule is not reasonably necessary to achieve any legitimate, procompetitive

justification. To the contrary, LegitScript’s increasingly anticompetitive enforcement of its rules

is instead reflective of its growing market power over applicants and certified entities and its

power to exclude competitors to the competitive advantage of LegitScript-certified entities and

one or more of their suppliers with which LegitScript has close ties.

             iii.    Empower’s Customers Have Capitulated to LegitScript’s Coercive
                     Demands to Agree to Be Bound By LegitScript’s Unlawful Enforcement of
                     Its “Affiliates” Rule.

       107. Faced with the choice to either abandon their applications for LegitScript

Certification and, consequently, lose the ability to place ads on major search engine and social

media platforms, many of Empower’s customers capitulated to LegitScript’s anticompetitive

demands. For example, as noted above, one customer informed LegitScript that it “certainly will

find an alternative vendor” and another closed its account with Empower.

       108. As a result of LegitScript’s enforcement of its “Affiliates” rule against Empower,

numerous customers with which Empower had existing supply relationships stopped doing

business with Empower. These customers include, but are not limited to,



                                     Representatives of these customers expressly informed

Empower’s sales team that their decisions were due to concerns related to LegitScript and the

information communicated by LegitScript to these customers.




Page 37 -      COMPLAINT
Case 3:25-cv-00514-AB   Document 1   Filed 03/26/25   Page 42 of 123
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 43 of 123




services, LegitScript coerced Empower’s customers to stop or refrain from doing business with

Empower.

             iv.     LegitScript Has Disparaged Empower in Communications to Customers
                     Resulting in Additional Reputational Harm.

       113. LegitScript’s aggressive enforcement of its “Affiliates” rule against Empower has

also resulted in reputational harm to Empower. As LegitScript ramped up its enforcement of its

“Affiliates” rule, it began communicating misleading information about Empower’s regulatory

history to Empower’s customers. For example, in the November 28, 2023 correspondence

between LegitScript and Empower’s former customer                   , LegitScript wrote, without

providing any meaningful context, that “Empower Pharmacy and its affiliates have facilitated

the sale of drug products that visibly do not meet current regulatory requirements for medicines,

including FDA regulatory allowances for compounded drug products.” But Empower did not

facilitate the sale of drug products in violation of FDA rules and regulations. As Empower noted

in its response to the FDA, a number of the issues flagged by the FDA, including the FDA’s

contention that Empower and its affiliates had facilitated the sale of drug products that did not

meet regulatory requirements, were the result of the FDA inspector conflating Empower

Pharmacy’s (503A pharmacy) conduct with that of Empower Pharma (503B outsourcing

facility). Only the latter was being inspected, and, notably, federal regulations allow for a 503A

pharmacy to compound drugs that a 503B outsourcing facility may not be able to compound.

Nonetheless, Empower took corrective actions (e.g., with regards to drug labeling) to better

distinguish between its 503A and 503B operations. None of this context was included in

LegitScript’s misleading and reckless communication.

       114. In the same email communication, LegitScript also identified a prior regulatory

issue brought by the California Board of Pharmacy against Empower. LegitScript informed the
Page 39 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 44 of 123




customer that Empower Pharmacy was the subject of an “unresolved Accusation” filed in May

2022 by the California Board of Pharmacy. However, this statement was also misleading.

LegitScript failed to mention that Empower had entered into a Stipulated Settlement Agreement

with the California State Board of Pharmacy in January 2023 to resolve the regulatory matter in

question. Critically, in entering the Stipulated Settlement Agreement, Empower made no

admissions of wrongdoing. Once again, LegitScript’s communication was stripped of any

meaningful context, creating the impression that Empower had not resolved a regulatory matter.

       115. LegitScript has also implied to Empower’s customers that Empower is “unwilling”

to come into compliance with LegitScript’s standards. As described in more detail above,

LegitScript told at least one of Empower’s customers that “We do not frequently deny

applications unless applicants are unwilling to come into compliance,” implying that

Empower’s failure to become LegitScript certified was due to an unwillingness to comply with

LegitScript standards. Ex. 9 at 2 (emphasis added). To the contrary, Empower has repeatedly

sought information from LegitScript to better understand what its standards are and what it

requires for certification.   LegitScript, however, has refused to respond substantively to

Empower’s questions. See generally Exs. 10, 11.

       116. LegitScript’s misleading communications to Empower’s customers serve as further

evidence of biased and discriminatory enforcement of its “Affiliates” rule against Empower and

an anticompetitive intent to unfairly restrain competition from Empower.           LegitScript’s

“Affiliates” rule does not give it carte blanche authority to commercially disparage Empower by

communicating out-of-context and misleading information targeting Empower.

       117. LegitScript’s actions as a whole with regard to its “Affiliates” rule has resulted in

Empower losing customers as well as sales from customers that remain, losing customer

Page 40 -     COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 45 of 123




goodwill, experiencing reputational harm diminishing its ability to win new business, and has

restrained Empower’s ability to access customers and distribution channels needed to compete

on an even playing field.

              v.    LegitScript’s Biased and Discriminatory Enforcement of Its “Affiliates”
                    Rule Supports the Conclusion That Empower Has Been Targeted for an
                    Anticompetitive Purpose and Effect.

        118. The anticompetitive purpose and intent of LegitScript’s expanded and escalated

enforcement of its “Affiliates” rule against Empower, thereby cutting Empower off from

distribution channels it needs to compete on an even playing field, is further supported by

LegitScript’s uneven enforcement of its “Affiliates” rule.

        119. For example, Roman Health Ventures, Inc. (d/b/a Ro), a telemedicine provider, is

a competitor of Empower’s in the pharmaceutical market and a member of ASOP Global, as is

Ro’s supplier of GLP-1s with which LegitScript also has close ties. See Ex. 15 at 1.

        120. On or around December 11, 2024, Ro announced a partnership to distribute

tirzepatide from the large pharmaceutical manufacturer member of ASOP.             Through the

partnership, Ro would make tirzepatide “available as a treatment option with an on-label

prescription from a Ro-affiliated provider” via the large ASOP pharmaceutical manufacturer

member. Based on how LegitScript had been enforcing its “Affiliates” rule against Empower—

i.e., making a distribution partnership with Empower a barrier to becoming LegitScript

certified—it was reasonable to expect that LegitScript would require both Ro and its now-partner

pharmaceutical manufacturer to be LegitScript-certified. But this does not appear to be the case.

While Ro is LegitScript-certified, its “Ro-affiliated provider” is not listed as a LegitScript-

certified entity.




Page 41 -       COMPLAINT
    Case 3:25-cv-00514-AB            Document 1      Filed 03/26/25      Page 46 of 123




       121. Under LegitScript’s “Affiliates” rule as it has been communicated to Empower’s

customers, Ro would lose its LegitScript Certification by partnering with the non-LegitScript

certified pharmaceutical supplier.

       122. The apparent disparity between LegitScript’s treatment of Empower compared to

Ro is particularly concerning in the context of the reporting discussed above that LegitScript

“carries out most of the operational level arrangements that are agreed at a level of principle”

with ASOP members, including “private deals” to “block” pharmacies from the market.

       123. As the reporter noted, “The unsurprising result is that the measures put in place by

this closed and captured process are too broad, favoring the private interests of big pharma,

limiting access to information and access to safe and affordable medicine.”

       124. As set forth above, LegitScript has entered into agreements unreasonably

restraining trade among horizontal competitor resellers of compounded products by requiring

that they agree to adhere to LegitScript’s anticompetitive “Affiliates” rule to boycott Empower.

       125. LegitScript’s biased and disparate treatment of Empower, expanded interpretation

and enforcement over time of the “Affiliates” rule, misleading and disparaging statements

targeting Empower, preferential treatment of ASOP members and LegitScript-certified entities,

and reporting that LegitScript carries out agreements reached with ASOP members through its

business provide evidence that LegitScript has not only entered into unreasonable restraints of

trade by organizing a downstream group boycott against Empower but has further done so as a

result of an unlawful agreement with one or more Empower competitors.




Page 42 -     COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 47 of 123




             vi.     LegitScript’s Expansion of Its “Affiliates” Rule Prohibiting LegitScript-
                     Certified Businesses From Buying Products From Non-LegitScript
                     Certified 503A Pharmacies or 503B Outsourcing Facilities Contravenes
                     Draft FDA Guidance and Is Anticompetitive.

       126. In line with LegitScript’s ongoing use of its “Affiliates” rule to block certain

pharmaceutical suppliers including Empower from customers and distribution channels needed

to compete, on or around October 22, 2024, Empower learned of another variation of the

“Affiliates” rule that LegitScript adopted that prohibits LegitScript-certified businesses from

buying products from non-LegitScript certified 503A pharmacies or 503B outsourcing facilities.

       127. LegitScript’s articulation of this prohibition constituted yet another anticompetitive

version of the “Affiliates” rule, now directed more specifically at compounding pharmacies and

outsourcing facilities.

       128. The anticompetitive purpose and effect of LegitScript’s compounding and

outsourcing version of its “Affiliates” rule is to clarify that LegitScript-certified 503A

pharmacies are prohibited from doing business with 503B outsourcing facilities unless they are

LegitScript-certified. Notably, this rule directly contravenes the Draft Guidance on Wholesaling

issued by the FDA in June 2023.

       129. As set forth above, the FDA’s draft guidance, issued on or around June 27, 2023,

clarified whether partnerships between state-licensed 503A pharmacies and 503B outsourcing

facilities are permissible under the FD&C Act. Pursuant to the FDA’s Draft Guidance on

Wholesaling, state-licensed 503A pharmacies may purchase compounded medications from

503B outsourcing facilities for dispensing to patients with valid prescriptions. In other words, a

503B outsourcing facilities’ direct sale or transfer of a drug it compounded to a state-licensed

503A pharmacy does not constitute “wholesaling” under the FD&C Act.


Page 43 -      COMPLAINT
         Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25       Page 48 of 123




            130. For example, pursuant to the FDA’s Draft Guidance on Wholesaling, Empower

     Pharma, its 503B outsourcing facilities, is permitted to partner with, and directly sell or transfer

     compounded products to, 503A state-licensed pharmacies or federal facilities. Therefore, in a

     competitive, unrestricted market, 503A pharmacies serve as an additional distribution channel

     for 503B outsourcing facilities.

            131. For 503A pharmacies, partnering with 503B outsourcing facilities may be

     beneficial for a number of reasons, including, but not limited to, potential mitigation of risks,

     reductions in operational costs, increased ability to provide expanded services to patients, and

     improvement in customer satisfaction.27

            132. While 503A pharmacies tend to be smaller in size with overall less operational

     volume due to the nature of their business focused on compounding and dispensing products for

     individual patients based on existing prescriptions, 503B outsourcing facilities, especially

     Empower Pharma, tend to do business on a larger scale, have more resources at their disposal,

     and can benefit 503A pharmacies by providing streamlined products and services, such as by

     providing compounded products with consistent and professional labeling that increases patients’

     confidence in the consistency of the compounded products they purchase.

            133. However, after the FDA published its Draft Guidance on Wholesaling in June 2023,

     LegitScript, once again, arbitrarily inserted itself into the distribution chain. Notwithstanding

     the fact that a 503B outsourcing facility’s partnership with a 503A pharmacy falls outside the

     legal definition of an “affiliate” or “affiliation,” LegitScript has taken it upon itself to construct



27
   Bruno Onwukwe & Celeste Zizzamia, Partnerships Between 503A Pharmacies And 503B
Outsourcing Facilities, Pro. Compounding Ctrs. of Am. (Nov. 27, 2024),
https://www.pccarx.com/Blog/partnerships-between-503a-pharmacies-and-503b-outsourcing-
facilities.
   Page 44 - COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 49 of 123




yet another barrier between legitimate 503B outsourcing facilities, including Empower Pharma,

and available distribution channels.

       134. While, pursuant to the FDA’s Draft Guidance on Wholesaling, 503B outsourcing

facilities are free to partner with 503A pharmacies and vice versa, LegitScript clarified that it

prohibited 503A pharmacies from seeking to partner with 503B outsourcing facilities that are

not LegitScript-certified for their supply of compounded products. This is yet another way that

LegitScript is restraining output of compounded products.

       135. As with LegitScript’s other restrictions, due to its power in the market for

certification of telemedicine providers and online pharmacies and its ability to essentially deny

these customers access to digital marketing channels, LegitScript has the power to coerce 503A

pharmacies to comply with its mandate, choosing only from a restricted pool of 503B

outsourcing facilities that LegitScript has deemed worthy, i.e., “legitimate,” despite lacking the

authority to make such a determination or the practical ability to ensure that such determination

rests on a non-biased and non-discriminatory foundation.

       136. Additionally, LegitScript’s escalated enforcement of its “Affiliates” rule, which,

began no later than the beginning of November 2023, coincided with the period following the

FDA’s publication of its Draft Guidance on Wholesaling just earlier that year.

       137. LegitScript’s inappropriate application of its “Affiliates” rule prohibiting

LegitScript-certified businesses from buying products from non-LegitScript certified 503A

pharmacies or 503B outsourcing facilities has the effect of requiring 503B outsourcing facilities

to apply for LegitScript Certification when they did not previously need to because they are

outsourcing facilities as opposed to pharmacies or telemedicine providers.



Page 45 -      COMPLAINT
         Case 3:25-cv-00514-AB            Document 1      Filed 03/26/25      Page 50 of 123




            138. For example, during Empower’s previous application cycles, Empower only sought

     certification for its 503A compounding pharmacy, not its 503B outsourcing facilities. Under this

     version of the “Affiliates” rule, in order to continue accessing its distribution channel to 503A

     pharmacies, Empower faces yet another restriction imposed by LegitScript and would need to

     secure LegitScript Certification for both its 503A compounding pharmacy and its 503B

     outsourcing facilities. As it is, Empower’s 503B outsourcing facilities and 503A pharmacy fall

     outside the scope of telemedicine providers and online pharmacies, therefore falling outside the

     scope of LegitScript’s purported mission: “making internet and payment ecosystems safer and

     more transparent.”28 However, LegitScript’s imposition of its anticompetitive and restrictive

     rules on customers demanding they only do business with LegitScript-certified entities increases

     the need for compounding pharmacies and outsourcing facilities to obtain certification to avoid

     being boycotted.

            139. The clarified breadth of LegitScript’s “Affiliates” rule thus further restrains trade

     by cutting off both arms of Empower’s business—its 503A compounding pharmacy and its 503B

     outsourcing facilities—from its customers.

          B.      LegitScript’s “Affiliates” Rule Violates the Law in Multiple Ways.

            140. LegitScript’s coercion forcing customers to agree not to purchase compounded

     products from Empower or else be denied certification or have their certification revoked

     violates the law in multiple ways.

            141. First, by coercing customers to cancel supply agreements and accounts with

     Empower, LegitScript has tortiously interfered with Empower’s contracts and prospective

     business advantage.


28
     About Us, LegitScript, https://www.legitscript.com/about/ (last visited Mar. 22, 2025).
     Page 46 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 51 of 123




       142. Second, LegitScript’s coercion of customers to force them to boycott Empower was

exclusionary and predatory conduct in that it impairs the opportunities of rivals to LegitScript-

certified suppliers on some basis other than efficiency, does not further competition on the merits,

and/or restrains competition in an unnecessarily restrictive way. Threatening to cut off access to

certification is particularly coercive where, as here, the buyers cannot reasonably compete

without the seller’s product—namely, LegitScript’s certification.        Specifically, LegitScript

orchestrated a group boycott and “concerted refusal to deal” among horizontal competitor

resellers of compounded products by entering into agreements prohibiting them from purchasing

Empower’s products. LegitScript further enforced compliance with the group boycott by telling

applicants that LegitScript would not only refuse to certify applicants if they did business with

Empower but that it would also revoke certifications if they did so. Whether this group boycott

is considered in isolation or in the broader context of LegitScript’s biased and discriminatory

conduct favoring LegitScript-certified entities and reported implementation of agreements

entered with members of ASOP or otherwise, LegitScript’s boycotting conduct to deny Empower

relationships it needs to compete, such as with its customers, is unlawful under either the per se

rule or under the rule of reason because it has had actual adverse effects on the market by

restraining output during the national shortage of GLP-1s and by requiring patients to buy more

expensive products instead from brand competitors and others. LegitScript has harmed the

competitive process by prohibiting Empower’s customers from purchasing the products they

would have purchased from Empower in a competitive market based on the merits of Empower’s

quality, pricing, and services.

       143. LegitScript’s implementation and enforcement of the “Affiliates” rule is also

anticompetitive because it is exclusionary towards entities that would otherwise compete directly

Page 47 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 52 of 123




with LegitScript to provide higher quality certifications.         By restricting applicants and

LegitScript-certified entities from doing business with suppliers that are certified by other

accreditation bodies that are not recognized by LegitScript, like the PCAB, LegitScript blocks

other accreditation bodies from serving as reasonable substitutes for LegitScript’s certification.

LegitScript’s “Affiliates” rule thereby renders formerly alternative certifications unsuitable in

that they can no longer help accredited entities increase, or even maintain, sales to customers

that have been cut off by LegitScript, depriving those certifications of any comparable value to

their accreditation customers. LegitScript has thus distorted competition on the merits for

certifications that would otherwise be based on the quality of the certification and review

process, pricing, and services because entities are instead now coerced to seek certification from

LegitScript either alone or in addition to other accreditation entities, which would be a waste of

resources for entities seeking to continue selling to their customers that are LegitScript certified

or seeking LegitScript certification. In short, LegitScript’s anticompetitive use of the “Affiliates”

rule helps LegitScript maintain and increase its market and monopoly power by protecting it

from losing customers to more legitimate accreditation bodies regardless of how poorly

LegitScript applies and monitors its sham standards.

       144. Third, LegitScript’s refusal to provide certification unless Empower’s customers

agree to purchase products from LegitScript-certified entities and/or agree not to purchase

products from Empower constitutes unlawful tying under Sections 1 and 2 of the Sherman Act

and state antitrust laws. LegitScript has expressly conditioned the ability to purchase the tying

product, certification, on the buyer’s agreement to purchase a different, tied product (products

sold by LegitScript-certified entities) and/or not to purchase Empower’s compounded products.



Page 48 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 53 of 123




       145. LegitScript’s imposition of these unreasonably restrictive boycotting and tying

agreements on Empower’s customers has substantially foreclosed Empower’s access to key

customers and the most efficient distribution channels for its compounded products (i.e., through

customers with which it had already established relationships and successful sales channels).

       146. While the cancelling of accounts and orders demonstrates an actual anticompetitive

effect on the market, per se condemnation of this conduct without inquiry into actual market

conditions is also appropriate in this case because LegitScript exploited control over the tying

product (certification) to force the buyer into the purchase of a tied product (products sold by

LegitScript-certified entities) that the buyers might have preferred to, and indeed tried to,

purchase elsewhere from Empower on different terms.

       147. LegitScript’s tying agreements affect a substantial amount of interstate commerce,

with customers diverting hundreds of millions of dollars’ worth of compounded products every

month as a result of LegitScript’s coercion, and LegitScript has actually tied the sale of two

distinct products, namely certification and the compounded products sold separately.

       148. As discussed in more detail above, by virtue of LegitScript’s agreements restricting

access to advertising on key search engine and social media platforms, LegitScript has

appreciable market power in the tying market for certification, as demonstrated by LegitScript’s

ability to require purchasers to accept rules and suppliers that would not have been agreed to in

a competitive market.

       149. LegitScript has succeeded in raising Empower’s costs and substantially foreclosing

access to customers, critical relationships, and the distribution channels Empower and other

compounding pharmacies need access to in order to meaningfully compete with LegitScript-

certified suppliers and other competitors given an arbitrary pass from LegitScript’s rules by

Page 49 -     COMPLAINT
    Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25       Page 54 of 123




wielding LegitScript’s economic power derived from its market and monopoly power in the

certification market.

       150. Finally, even if LegitScript’s agreements with customers were each considered on

an individual basis, rather than together as they should be considered to assess the cumulative

impact of LegitScript’s anticompetitive conduct, they still violate Section 1 of the Sherman Act

and state antitrust laws as unreasonable restraints of trade that cannot be justified by any

legitimate, procompetitive benefit achieved by cutting Empower off from its customers,

restricting output, and depriving customers of their preferred supplier and terms as well as

competition across alternative suppliers.

       151. These agreements are unreasonably restrictive, entered or enforced with the

exclusionary purpose and effect of restraining competition from Empower and with the further

anticompetitive effect of maintaining and enhancing LegitScript’s market and monopoly power

by requiring entities that would not otherwise need LegitScript Certification to seek certification

or be cut off from access to key customers and the most efficient and critical distribution

channels.

       152. In short, LegitScript has harmed the competitive process both by restraining

competition on the merits for sales to LegitScript-certified entities at the better prices and quality

that would otherwise prevail in a competitive market and also by abusing its market power by

forcing entities to seek certification from LegitScript when they would have preferred to obtain

certification, or have already obtained certification as in Empower’s case, from another

accreditation organization that is not a for-profit company seeking to unlawfully insert itself as

a private gatekeeper distorting competition in markets that are already regulated.



Page 50 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 55 of 123




       153. LegitScript’s requirement that Empower’s customers cut ties with Empower in

order to get certified cannot be justified by any legitimate, procompetitive purpose. The fact that

LegitScript previously required only that pharmacy suppliers be “licensed” demonstrates that its

new restrictions are not reasonably necessary to achieve any purported safety concern, for

example, which has been rejected as a procompetitive justification in antitrust cases in any event

as it is not based on efficiency considerations.        As discussed further below, moreover,

LegitScript-certified entities have had far more serious regulatory issues than Empower

indicating that any justification based on purported safety issues would be pretextual at best.

LegitScript, moreover, could achieve any such purported justification in a less restrictive way by

engaging with Empower to permit it to demonstrate its compliance with any legitimate standards.

But to the contrary, LegitScript instead imposed an arbitrary waiting period on Empower’s ability

to do so and has repeatedly declined to engage in discussions regarding LegitScript’s standards

and Empower’s compliance with those standards. See, e.g., Exs. 10, 11.

       154. Thus, even if restrictive standards would be effective to some extent in protecting

legitimate procompetitive goals, which here they are not, these provisions still violate the

antitrust laws because they impair the opportunities of rivals in an unnecessarily restrictive way.

       155. As discussed above, these anticompetitive tying and group boycott agreements with

Empower’s customers have been effective, with numerous customers either cancelling accounts

and orders or substantially decreasing orders as the direct result of LegitScript’s unlawful

conduct. The customers’ capitulation to LegitScript’s coercion is particularly extraordinary

given the national shortage over GLP-1s during this time period and the substantial price gap

between the branded and compounded alternatives.



Page 51 -      COMPLAINT
        Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 56 of 123




II.      LegitScript’s Arbitrary Denial of Empower’s Healthcare Certification and Website
         Classification of Empower as an “Unapproved” Pharmacy Is Further Evidence of Its
         Biased and Discriminatory Practices That Unreasonably Restrain Trade.

            156. LegitScript holds itself out as offering market participants “a recognized seal of

  approval that enables businesses to showcase their compliance, unlock opportunities to advertise,

  and accept digital payments,” among other things.

            157. Entities like LegitScript that take it upon themselves to sell their certification or

  “seal of approval” to industry participants based on guidelines, standards, or rules they set for

  industry participants in order to obtain certification or approval have long raised antitrust

  concerns given their power to provide a competitive advantage to some market participants with

  an economic interest in the standard set for certification to the competitive disadvantage of

  others.

            158. To protect against the manipulation of certification standards by competitors, courts

  assess whether certification standards have been implemented or enforced in a manner that

  restrains competition and insulates approved entities from competition through the biased or

  arbitrary application of standards. Where, like here, there has been a biased and arbitrary

  application of certification standards, the conclusion can be drawn that rules that were

  purportedly implemented to help maintain high quality or safety standards for an industry instead

  have the real purpose and effect of unreasonably restraining free and fair competition on the

  merits of the competitors’ products, services, and prices.

            159. As set forth in detail below, LegitScript has repeatedly refused to certify Empower

  based on apparently pretextual bases while granting certification to other entities with far more

  serious regulatory issues, including to entities that have pled guilty to violations of law relating

  to their pharmacy practices. LegitScript meanwhile publicly touts the “safety” and “legality” of

      Page 52 -    COMPLAINT
         Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25        Page 57 of 123




     pharmacies that have likewise admitted to serious charges or that are currently defending

     government enforcement actions based on serious violations of law and claims that the

     pharmacies’ illegal conduct has even resulted in patients’ deaths.

          A.      LegitScript Unreasonably and Arbitrarily Denied Certification to Empower
                  Despite Empower’s Demonstrated Efforts to Achieve Compliance.

            160. In 2018, Empower Pharmacy, Empower’s 503A compounding pharmacy, applied

     for a LegitScript Healthcare Merchant Certification given LegitScript’s growing importance to

     Empower’s customers.

            161. After LegitScript denied Empower Pharmacy’s first application, a second

     application was submitted in April 2021. LegitScript again denied the application, citing open

     regulatory matters and Affiliate-related issues as grounds for denial. In November 2022,

     Empower informed LegitScript that it had corrected several issues identified by LegitScript, and

     that since its April 2021 application, “Empower Pharmacy has added internal leadership and

     external oversight, including experts with decades of experience in pharmacy compliance,

     operations, and process improvement,” and “has restructured its manufacturing, quality, and

     compliance departments to provide for greater oversight.”            Empower diligently updated

     LegitScript with its plans for ongoing compliance and corrective actions.

            162. As noted above, LegitScript has admitted to Empower’s customers that it does “not

     frequently deny applications unless applicants are unwilling to come into compliance.” Ex. 9 at

     2. As the founder of LegitScript, John Horton, wrote online, “[H]ey, want to get LegitScript

     certified? Not Hard. Operate legally.”29 Yet despite the extensive efforts Empower invested


29
  John Horton, EFF’s Emerging Alignment with Offshore Internet Pharmacies, CircleID (Mar.
21, 2017), https://circleid.com/posts/20170321_eff_emerging_alignment_with_offshore_internet
_pharmacies#11681 (including comment chain between John Horton, President of LegitScript,
Gabriel Levitt, President of PharmacyChecker, and Jeremy Malcolm).
  Page 53 - COMPLAINT
    Case 3:25-cv-00514-AB         Document 1        Filed 03/26/25        Page 58 of 123




into addressing any issues raised by LegitScript, LegitScript again denied Empower’s

application. Empower appealed in January 2023.

       163. In February 2023, Empower voluntarily updated its appeal application and

provided Empower’s quarterly updates to the FDA. Empower also informed LegitScript that

“[t]o date, Empower is over 85% complete implementing change controls for the observations

listed in its August 2022 Form 483”—again demonstrating that Empower was diligently taking

corrective actions in response to the FDA’s observations in a Form 483.

       164. Yet, LegitScript denied Empower’s application that same month, informing

Empower that LegitScript was “unable to proceed” until it received copies of quarterly reports

from Empower’s settlement with the California Board of Pharmacy—a regulatory matter that

Empower and the California Board had settled the year prior. In May 2023, Empower informed

LegitScript that it was “in compliance at present with the terms of our [California Board of

Pharmacy] probation”—which was operational in nature and did not impose disciplinary actions

on Empower, but rather was aimed at ensuring ongoing compliance—and informed LegitScript

that Empower continued to have proactive and positive engagement with the FDA.

       165. Thereafter, after multiple rounds of Empower responding and complying with

LegitScript’s documentation requests, LegitScript denied the appeal in August 2023.

       166. Empower submitted a new application in or around March 2024. This application,

too, was rejected without a clear basis for denial. LegitScript acknowledged Empower’s

“dedication to improving compliance,” yet required a number of ambiguous items to be “closed

out” before Empower could move forward with certification, stating: “All state board of

pharmacy consent orders, disciplinary action, and stipulation orders are required to be closed

out. FDA acknowledgement that the response provided by Empower to the FDA Form 483 is

Page 54 -     COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 59 of 123




sufficient. We require inspection reports (both self-assessment and the assessment performed by

the hired inspector) for Q2-Q4.”

       167. As discussed above, however, the FDA has no obligation to officially “close out” a

Form 483 or a Warning Letter and can choose simply to not take any further action. Empower

sought clarification as to what LegitScript was referring to with respect to “inspection reports …

by the hired inspector” because it was unclear which hired inspector (i.e., the FDA’s investigator

or a state investigator) was being referenced. Upon follow up, LegitScript refused to provide

any clarification.

       168. Also, unlike previous denials, LegitScript imposed a wholly arbitrary six-month

waiting period before Empower could submit a new application.

       169. Empower was blindsided by LegitScript’s imposition of a six-month waiting

period—which LegitScript asserted was “essential to allow adequate time [for Empower] to

demonstrate sustained compliance” with LegitScript’s standards, suggesting that LegitScript

acknowledged that Empower had already come into compliance with LegitScript’s standards.

See Ex. 12 at 1.

       170. Given the lack of clarity from LegitScript’s explanation of its reasons for denial,

and to improve its approval chances in the future, Empower requested guidance from LegitScript

as to its certification standards and the reasons underlying LegitScript’s denials of Empower’s

prior applications. See Ex. 10. LegitScript refused to provide such information to Empower.

LegitScript, however, thoroughly (and misleadingly) elaborated its purported reasons for

denying Empower’s applications to Empower’s customers.

       171. For example, LegitScript told one customer that “Empower Pharmacy was the

subject of an October 2021 Warning Letter by the FDA which mentions that drug products

Page 55 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 60 of 123




produced by Empower Pharmacy ‘failed to meet the conditions of section 503B of the FDCA

necessary for drugs produced by an outsourcing facility to qualify for exemptions from certain

provisions of the FDCA’” (emphasis added). However, this statement was false and misleading.

As set forth above, Empower Pharmacy and Empower Pharma are subject to different regulations

and standards, and LegitScript inappropriately conflated the two by stating that Empower

Pharmacy was the subject of the Warning Letter referenced.            LegitScript’s error citing

correspondence related to Empower’s 503B facility as a basis for denying Empower Pharmacy’s

503A LegitScript application further demonstrates that LegitScript lacks the resources necessary

to administer a neutral certification process that reflects a full understanding of the complex

regulatory frameworks governing the industry, rendering the process ripe for abuse by other

industry participants, including Empower’s competitors.

       172. Lacking direct guidance, Empower pieced together an understanding of

LegitScript’s certification standards and process through LegitScript’s website and

communications to Empower’s customers. LegitScript’s own guidance states that it may grant

a “probationary certification” to applicants that have been “subject to Disciplinary Action, pose

a reputational risk to LegitScript, or have otherwise been deceptive, uncooperative,

noncompliant, or not transparent, but have since sufficiently remediated to LegitScript’s

satisfaction and have satisfactorily demonstrated a commitment to compliance with LegitScript’s

standards.” Ex. 7 at 4. LegitScript began offering probationary status in 2017. See Ex. 14 at 1.

In a blog post on LegitScript’s website attributed to LegitScript’s former CEO and President,

John Horton, he wrote that when applicants with problems in the past “indicate[] they have fixed

the issue and intend to operate in compliance going forward,” LegitScript is “hesitant not to

approve them, as long as they remain licensed and are now fully legally compliant.” Id. Per

Page 56 -     COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 61 of 123




LegitScript’s own statements, “prior discipline alone doesn’t mean that a pharmacy’s only option

is probationary – rather, it has to be pretty serious stuff.” Id. at 2. Indeed, LegitScript

affirmatively touts its ability to “help[] applicants identify and correct inadvertent errors in

compliance with pharmacy and telemedicine regulations.” Ex. 13 at 6.

       173. As explained above, Empower has been transparent with LegitScript regarding any

prior regulatory issues and has provided LegitScript with robust details on how it had or planned

to remediate such issues. LegitScript itself has acknowledged both Empower Pharmacy’s

“dedication to improving compliance,” and “sustained compliance,” and yet, it is unclear

whether LegitScript ever even considered Empower for probationary certification. In previous

application cycles, Empower Pharmacy raised the possibility of being granted probationary

certification from LegitScript, but LegitScript did not engage substantively with Empower

Pharmacy with regards to this option.

       174. It is also notable that LegitScript apparently has a different pricing structure for

probationary certification, with probationary certification “typically cost[ing] more than

standard certification.” Ex. 14 at 2; see Ex. 7 at 4 (“probationary certification pricing will be

determined on a case-by-case basis”).

       175. Furthermore, as noted above, LegitScript has also represented to Empower’s

customers that it is willing to “work with applicants to ensure [they are] able to come into

compliance” and that it “do[es] not frequently deny applications unless applicants are unwilling

to come into compliance.” Ex. 9 at 2. LegitScript requires applicants to “sufficiently remediate[]

to LegitScript’s satisfaction”—however, LegitScript has failed to provide any guidance on what

“sufficient[] remediat[ion]” entails and how applicants may achieve it. Ex. 7 at 4.



Page 57 -      COMPLAINT
         Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25      Page 62 of 123




            176. LegitScript’s repeated denial of certification without meaningfully explaining the

     basis for those denials, refusal to provide guidance as to the standard it has been applying to

     Empower’s applications or how to become certified, and its imposition of a six-month waiting

     period all support the conclusion that LegitScript has unreasonably and arbitrarily enforced its

     certification standards, particularly when its certification of other entities is taken into

     consideration.   When taking a step back and observing how LegitScript has applied its

     certification standards to other pharmacies seeking Healthcare Merchant Certification, the

     discriminatory nature of LegitScript’s conduct becomes apparent.

          B.      In Stark Contrast to LegitScript’s Arbitrary and Biased Treatment of Empower,
                  LegitScript Has Certified Entities with Far More Serious Regulatory and Legal
                  Violations.

            177. For example, one compounding pharmacy that LegitScript certified, on information

     and belief in early 2023, has a Form 483 on file from March 14, 2022, and a Warning Letter from

     April 1, 2020—neither of which were closed out by the FDA prior to LegitScript Certification.

     Significantly, LegitScript granted certification to this entity despite even more serious issues

     from October 2020, when this entity and its owner pled guilty to the unlawful distribution of

     unapproved compounded prescription drugs throughout the United States from October 2018

     through April 2020.30 Specifically, the compounding pharmacy and its owner pleaded guilty to

     the unlawful distribution of selective androgen receptor modulators (“SARMS”) and other

     substances the FDA had not approved for distribution in the United States, including unapproved

     new drugs. In connection with the plea, the pharmacy and its owner agreed to forfeit more than



30
   See Press Release, U.S. Dep’t of Just., Nicholasville Compounding Pharmacy and Its Owner
Plead Guilty to Unlawful Distribution of Prescription Drugs (Oct. 29, 2020), available at:
https://www.justice.gov/usao-edky/pr/nicholasville-compounding-pharmacy-and-its-owner-
sentenced-unlawful-distribution.
   Page 58 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 63 of 123




$1.7 million, representing its 2019 sales for the products. The owner and CEO of the pharmacy

pled guilty to having knowingly caused its pharmacy to fill and ship bulk, wholesale distributions

of Methylcobalamin to a doctor, knowing that the pharmacy had never applied for permission

from the Kentucky Board of Pharmacy to act as a wholesale distributor of prescription drugs.

The pharmacy additionally had a voluntary recall of products in 2018 due to incorrect beyond

use dates on vial labels. Nevertheless, despite these serious issues, LegitScript certified this

entity and has not revoked its certification to this day. Yet soon after LegitScript granted

certification to this pharmacy despite having pled guilty to serious legal violations, it denied

Empower’s certification despite having acknowledged Empower’s “dedication to improving

compliance.”

       178. Even more recently, in January 2025, LegitScript granted certification to a 503B

outsourcing facility that received an FDA-issued Warning Letter in 2021 and multiple Form 483s

in 2019, 2022, and 2024, none of which have been followed by a “closeout” letter from the FDA.

Notably, the FDA observed in the 2021 Warning Letter to this facility that it “[did] not have any

FDA-approved applications on file for drug products that [it] compound[ed]” and that it

“compound[ed] drug products that are intended for conditions not amenable to self-diagnosis

and treatment by individuals who are not medical practitioners; therefore, adequate directions

for use cannot be written so that a layman can use these products safely for their intended uses.

Consequently, their labeling fails to bear adequate directions for their intended uses causing them

to be misbranded under section 502(f)(1) of the FDCA.” These observations are similar to the

FDA’s observations in the 2021 Warning Letter LegitScript cited as grounds for denying

Empower’s application. Despite unresolved FDA regulatory activity, LegitScript nonetheless

granted Empower’s competitor its certification.

Page 59 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 64 of 123




        179. LegitScript also certified another entity on October 25, 2024 despite it having

multiple Form 483s on file, dated April 2018, March 2022, and May 2024—all issued and

unresolved prior to obtaining its LegitScript Certification. The FDA observed in March 2022 in

a Form 483 that this “outsourcing facility compounds drug products using bulk drug substances

that cannot be used in compounding under section 503B because they (a) have been identified

in a federal register notice as not being placed on the 503B Bulk List and do not appear on the

drug shortage list in effect under section 506E of the Act or (b) appear on the 503B Category 2

(bulk drug substances identified by FDA as presenting significant safety risk).” None of this

entity’s Form 483s were closed out by the FDA, but unlike LegitScript’s refusal to grant

Empower its certification due to purportedly unresolved regulatory issues, LegitScript turned a

blind eye to this entity’s Form 483s and instead granted certification.

        180. Additionally, LegitScript certified another pharmacy, upon information and belief

sometime between October 2021 and December 2021, despite having an open Form 483 from

October 2020. Since 2021, the FDA further issued this pharmacy another Form 483 in September

2022 and a Warning Letter in September 2023. Evidently, the open regulatory issues neither

prevented LegitScript from certifying this pharmacy nor warranted the revocation of its

certification.

        181. Furthermore, at least one compounding pharmacy remains LegitScript-certified

despite having entered into a consent agreement and having been ordered by a state board of

pharmacy to pay a fine for allegedly violating state law. This same pharmacy, moreover, has

also been the subject of another complaint by a different state for selling “misbranded drugs in

violation of both state and federal law” and taking “illegal actions” that “pose significant risks

and dangers” to consumers, including by marketing certain peptides that the FDA has banned for

Page 60 -        COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 65 of 123




raising “significant safety risks.” At least three additional LegitScript-certified pharmacies have

likewise been the subject of state complaints for selling illegal peptides after the FDA banned

them. Under LegitScript’s standards, “[m]erchants must be adequately licensed for the services

they offer and in the jurisdictions they serve.” Moreover, LegitScript’s standards state that “[t]he

applicant must comply with all provisions of applicable laws and regulations,” and “must not

facilitate the prescribing or dispensing of medications that do not hold the necessary

authorization or approval from the applicable regulatory body in that jurisdiction or medications

that are otherwise considered unapproved by relevant regulatory bodies.” If LegitScript were

consistent and nonbiased in its application and enforcement of its certification standards, these

compounding pharmacies should have lost their LegitScript Certifications—but did not.

       182. In addition to the LegitScript-certified compounding pharmacies listed above that

were certified despite having unresolved “disciplinary actions”—as defined by LegitScript’s

Terms and Conditions—on file, there are many compounding pharmacies that have retained their

LegitScript Certification without issue after being issued a Form 483 by the FDA, including at

least five additional pharmacies beyond those referenced above.

       183. LegitScript’s pattern of granting certification to pharmacies that have had extremely

serious regulatory issues, unlike Empower, demonstrates a biased and discriminatory application

of its standards to the competitive disadvantage of Empower.

       184. Empower Pharmacy is still not LegitScript certified. It is difficult to reconcile

LegitScript’s reasoning for denying Empower’s application for certification with LegitScript’s

certification of other compounding pharmacies.             LegitScript’s arbitrary, biased, and

discriminatory application of its certification standards has competitively disadvantaged



Page 61 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 66 of 123




Empower and has substantially foreclosed its access to key customers, relationships, and

distribution channels it needs to compete against LegitScript-certified competitors.

     C.      LegitScript’s Imposition of an Arbitrary Waiting Period Before Permitting
             Empower to Reapply for Certification Was Biased and Discriminatory.

       185. Empower sought to mitigate the negative impact of LegitScript’s enforcement of

its “Affiliates” rule by applying for a LegitScript Healthcare Merchant Certification for its 503A

Pharmacy (Empower Pharmacy). Despite seeking to satisfy all of LegitScript’s requests,

LegitScript has unreasonably and discriminatorily withheld certification from Empower.

       186. Following LegitScript’s denial of Empower’s application for certification on or

around June 24, 2024, LegitScript arbitrarily imposed a “mandatory” six-month waiting

period—expiring on December 24, 2024—before Empower was permitted to reapply for

certification. Ex. 12 at 1. Contrary to LegitScript’s acknowledgement of Empower’s “dedication

to improving compliance,” LegitScript imposed a waiting period it purported to be “essential to

allow adequate time to demonstrate sustained compliance with [its] Certification Standards.”

Id. (emphasis added).

       187. LegitScript’s imposition of a six-month waiting period on Empower Pharmacy

cannot be anything but arbitrary and biased. LegitScript’s indication that the waiting period was

to allow Empower Pharmacy to “demonstrate sustained compliance” with LegitScript’s

standards suggests that Empower Pharmacy had already come into compliance with

LegitScript’s certification standards. The imposition of a waiting period was also arbitrary given

that LegitScript awards “probationary certification” status to other applicants that “require

increased monitoring and review.” See Ex. 7 at 4.




Page 62 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 67 of 123




        188. Notably, this waiting period also coincided with the time needed for a large

pharmaceutical competitor with which LegitScript has close ties through membership in ASOP

to remove its GLP-1 medication from the FDA shortages list.

        189. The expiration date of the waiting period (December 24, 2024) also corresponded

to Ro’s announcement of its partnership to distribute tirzepatide through its telemedicine service

for the same large pharmaceutical competitor with which LegitScript has close ties through

ASOP.

        190. LegitScript’s arbitrary and biased imposition of a six-month waiting period on

Empower has directly impacted its ability to combat LegitScript’s aggressive and unreasonable

enforcement of its “Affiliates” rule. In the time since LegitScript imposed this waiting period,

LegitScript has continued to characterize a business relationship with Empower as a barrier to

certification. In turn, Empower’s customers have been coerced into dropping Empower as a

supplier.

        191. Accordingly, LegitScript’s most recent denial of Empower’s application for

certification and its arbitrary application of an atypical waiting period appears strategically

imposed to buy time for Empower’s competitors to be able to sell competitive GLP-1

medications and to prevent Empower from solidifying and growing its relationships with

customers during the time its competitors were unable to satisfy the market’s demand for GLP-

1 medications or to more efficiently supply those customers through a distributor that can

compete more directly against Empower for sales.




Page 63 -      COMPLAINT
    Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25       Page 68 of 123




      D.       LegitScript’s Website Classification Guide is Arbitrary and Its Classification of
               Empower as “Unapproved” Is Further Evidence of LegitScript’s Discriminatory
               and Anticompetitive Practices

        192. LegitScript has used its power over the relevant markets to enforce a set of arbitrary

“legitimacy classification[s],” which have served as barriers to entry and competition due to the

effect these classifications have on the pharmacy’s reputation. LegitScript has further classified

pharmaceutical merchants in a biased and discriminatory manner by overlooking blatant

regulatory violations and labeling problematic pharmaceutical merchants as “legitimate” or

“certified.”

        193. LegitScript changed its website classifications system in early 2022 and added a

fifth category to its Website Classification Guide—“certified”—which was a unique category for

pharmaceutical merchants who were specifically LegitScript-certified. Prior to this change,

there were only four categories: “Rogue,” “Unapproved,” “Unverified,” and “Legitimate.” The

definitions for “Rogue,” “Unapproved,” and “Unverified” have largely stayed the same;

however, “Legitimate” used to be “available only to merchants and websites eligible for one of

LegitScript’s certification programs (currently online pharmacies and eyewear)” that “passed

LegitScript Certification criteria.” Now, the “Legitimate” label is reserved for “website[s] [that

are] not LegitScript-certified, but [have] received accreditation or certification from other entities

that LegitScript recognizes, such as the NABP.” LegitScript provides no guidance on its website

or otherwise on what other types of “accreditation or certification from other entities” it

recognizes. Also, as previously mentioned, the new “Certified” label is reserved for “website[s]

[that are] LegitScript-certified, meaning it has been vetted through LegitScript’s rigorous review

processes and is monitored on an ongoing basis.”




Page 64 -       COMPLAINT
    Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25      Page 69 of 123




         194. Notably, this change was done around the same time the FDA placed semaglutide

injections, Ozempic® and Wegovy®, on the shortage list.

         195. LegitScript asserts that its “core principle” in categorizing pharmaceutical

merchants is that “the merchant should comply with laws and regulations where it is located, as

well as the laws and regulations in each jurisdiction where it serves its customers.” Yet,

LegitScript classifies pharmacies with extensive regulatory issues and multiple violations on

record as a “legitimate” pharmacy, and indeed has certified some compounding pharmacies

despite unresolved FDA violations and even guilty pleas for violations of law, as discussed

above.

         196. In contrast, however, LegitScript classifies Empower as “Unapproved,” thereby

harming its reputation and placing it at a competitive disadvantage vis-à-vis its competitors

without a legitimate reason for doing so. LegitScript has given Empower this “Unapproved”

designation despite the fact that Empower “compl[ies] with the laws and regulations where it is

located,” as LegitScript requires, and complies with “the laws and regulations in each jurisdiction

where it serves customers.” Furthermore, Empower Pharmacy is PCAB-accredited, which, by

LegitScript’s own standards should grant it “Legitimate” status because it has “received

accreditation or certification from other entities.”




Page 65 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 70 of 123




       197. On the other hand, LegitScript classifies a major retail pharmacy as “legitimate”

based on its Healthcare Merchant Certification on LegitScript’s website even though it has paid

over $40 million in fines as a result of a series of investigations by the Drug Enforcement

Administration and the Department of Justice and, in May 2008, paid $36.7 million to settle

allegations that it defrauded the government by improperly switching patients taking generic

Zantac to capsules from the tablet form of the heartburn drug. In 2015, this reportedly

“legitimate” retail pharmacy was also fined $22 million by the DEA after the pharmacy admitted

that its pharmacists knowingly distributed controlled substances (pain killers) based on

prescriptions that had not been issued for legitimate medical purposes by a health care provider.

Nevertheless, this pharmacy remains classified as “legitimate” despite the fact that as recently

as December 2024, the DOJ filed a nationwide lawsuit alleging that the pharmacy and its various

subsidiaries knowingly dispensed controlled substances in violation of the Controlled

Substances Act (“CSA”) and the False Claims Act (“FCA”).

       198. As another example of LegitScript’s biased and discriminatory certification and

classification standards, LegitScript publicizes on its website that another major retail pharmacy

Page 66 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 71 of 123




is “certified” and that “LegitScript has reviewed this website or merchant as part of our

certification program and has determined that it meets our standards for legality, safety and

transparency!” LegitScript further advises, “That means we monitor this merchant regularly.”

However, LegitScript has not revoked this pharmacy’s certification despite the pharmacy being

sued by the Department of Justice in January 2025 for allegedly dispensing millions of unlawful

prescriptions in violation of the CSA and FSA. The DOJ’s complaint alleges that the pharmacy

“knowingly” filled prescriptions for controlled substances that “lacked a legitimate medical

purpose, were not valid, and/or were not issued in the usual course of professional practice” from

August 2012 to the present resulting in patients dying from overdose deaths shortly after getting

invalid prescriptions filled at the pharmacy. The DOJ alleges that the pharmacy prioritized

“profit over patient safety,” alleging that its “pharmacists filled these prescriptions despite clear

‘red flags’ that indicated that the prescriptions were highly likely to be unlawful … ignor[ing]

substantial evidence from multiple sources that its stores were dispensing unlawful

prescriptions.”    The DOJ further alleged that the pharmacy “systematically pressured its

pharmacists to fill prescriptions quickly without taking the time needed to confirm each

prescription’s validity” and “deprived its pharmacists of crucial information” necessary to verify

the legitimacy of each prescription it filled. Yet, this pharmacy remains LegitScript certified,

despite LegitScript publicizing that it regularly monitors this pharmacy and that it meets

LegitScript standards for “legality” and “safety.”         When confronted with the blatantly

discriminatory treatment of entities that have remained certified despite serious regulatory

enforcement actions, John Horton argued that there was a “straightforward difference” between

its disparagement of its competitors and its treatment of an entity that remains certified in that



Page 67 -         COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 72 of 123




     the entity’s “business strategy isn’t predicated on operating illegally” and did not have an “entire

     business plan [that] centers around continuous illegal conduct.”31

            199. While John Horton acknowledged that the behavior of its certified pharmacy

     “shouldn’t be overlooked,” he stressed that “it doesn’t follow that [the pharmacy’s] fundamental

     business plan relies on ongoing illegality.” He further noted that if other “pharmacies wanted to

     start operating legally … we’ll classify them as legitimate.”32 Nevertheless, LegitScript publicly

     disparages Empower as an “Unapproved” pharmacy on the purported basis that Empower does

     not meet its certification standards for safety and compliance while it simultaneously touts the

     “safety” and “legality” of pharmacies that have pled guilty or admitted to serious violations of

     law relating to their pharmacy practices or are currently defending government enforcement

     actions charging them with serious violations of law that the government alleges have resulted

     in patient deaths.

            200. Notably, Empower is not the first entity that poses a competitive threat to

     LegitScript-certified entities that has been the target of “LegitScript’s false and misleading

     accusations.”   In 2017, for example, the General Manager of the Canadian International

     Pharmacy Association (“CIPA”) wrote an article in response to “an inaccurate and misleading

     critique” of its business that “was clearly intended to smear [its] reputation with a broad brush

     dipped in inaccuracies and scare tactics.” CIPA’s General Manager noted that “despite CIPA’s

     strict safety procedures and 100% perfect safety record, LegitScript is trying to falsely paint us

     into the ‘rogues’ corner of the web” as a result of it “shining a spotlight on the U.S.


31
   John Horton, EFF’s Emerging Alignment with Offshore Internet Pharmacies, CircleID (Mar.
21, 2017), https://circleid.com/posts/20170321 eff emerging alignment with offshore internet
_pharmacies#11681 (including comment chain between John Horton, President of LegitScript,
Gabriel Levitt, President of PharmacyChecker, and Jeremy Malcolm) (emphasis added).
32
   Id. (emphasis added).
   Page 68 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 73 of 123




     pharmaceutical industry’s coordinated campaign to eliminate threats.” He noted that this “is

     what appears to have motivated LegitScript to campaign to suppress consumer choice and

     competition under the false pretense of protecting consumers.” He further discussed his and

     others’ “concerns about private interests promulgating standards for key Internet intermediaries

     designed to serve their own financial interests” and stated that “[w]hile LegitScript hurls

     unfounded accusations at CIPA, they should take a second look … at the U.S. pharmacies it

     claims are ‘legitimate’ and the pharmaceutical companies that are funding misleading campaigns

     with similar themes as those presented by LegitScript and its affiliates.”33

III.      LegitScript’s Conduct Has Harmed, and Continues to Harm, Competition in the
          Relevant Markets, Empower, Empower’s Customers, Patients, and LegitScript’s
          Competitors.

          A.      LegitScript’s Unlawful Conduct Has Harmed the Competitive Process and
                  Competition on the Merits.

            201. LegitScript’s unlawful conduct has distorted and harmed the competitive process

     and competition on the merits of competitors’ products, quality, services, and prices that would

     otherwise prevail in a competitive market. Rather than providing compounding customers and

     patients with reliable information that could better inform their purchasing choices, LegitScript

     has introduced false and disparaging information into the market based on biased and

     discriminatory interpretations of sham standards that distort and restrain free and fair

     competition. Beyond merely distorting market dynamics with false and misleading information,

     LegitScript has further abused its market power by coercing customers to cut ties with suppliers

     with which they would have preferred to do business absent LegitScript’s anticompetitive



33
  Tim Smith, The Broad Brush of LegitScript, Painting Inaccuracies About CIPA, CircleID
(Apr. 18, 2017), https://circleid.com/posts/20170418_broad_brush_of_legitscript_painting_
inaccuracies_about_cipa.
   Page 69 - COMPLAINT
    Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25       Page 74 of 123




coercion. In doing so, LegitScript has further distorted competition on the merits for competitive

certifications because certifications that are not accepted by LegitScript no longer enhance their

certified entities’ ability to sell to customers that are seeking a LegitScript certification or that

are already LegitScript-certified.

     B.      LegitScript’s Unlawful Conduct Has Caused Actual Adverse Effects on the Market,
             Harming Compounding Customers and Patients.

       202. LegitScript’s unlawful conduct has disrupted supply arrangements and

relationships during FDA-recognized national shortages of GLP-1 medications, such as

semaglutide and tirzepatide. At a time when an extraordinary increase in demand far outstripped

the available supply, LegitScript coerced Empower’s customers to cut off one of their sources

capable of compounding these high-demand medications. Given the extraordinary demand for

these medications during a time when supply was already capacity-constrained, cutting

Empower off from customers and distribution channels for these medications resulted in a

restriction of output. Given the difficulty in finding alternative sources of supply during the

national shortage, moreover, the disruption in the supply relationship itself restrained and

reduced the output that otherwise would have prevailed in a competitive market absent

LegitScript’s interference.

       203. Empower’s pricing for compounded GLP-1 medications, moreover, is generally far

lower than brand competitors’ pricing and often lower than the pricing of other competitors, such

as those selling GLP-1 medications under a subscription model that imposes additional fees

above and in addition to the cost of the products themselves. Ro, for example, advertises the

availability of branded semaglutide for $900-$1,000 monthly, on top of which a subscriber must




Page 70 -      COMPLAINT
         Case 3:25-cv-00514-AB             Document 1    Filed 03/26/25      Page 75 of 123




     pay Ro a $145 monthly membership fee, for a monthly total of $1,045-$1,145.34 Branded

     semaglutide, moreover, is reported to have an even higher manufacturer list price of $1,350.35

     In contrast, even without factoring                                                 , Empower

     sells compounded semaglutide at list prices for roughly $         .

            204. Empower’s prices are also frequently lower than its direct compounding

     competitors as well. For example,




            205. Accordingly, customers, and in turn patients, who were forced to find another

     source for GLP-1 medications once LegitScript restrained their ability to purchase from

     Empower were further harmed not only by the disruption in their supply of these medications

     but also because they then had to pay higher, and thus supracompetitive, prices than they would

     have otherwise paid in a competitive market had they remained free to purchase GLP-1

     medications from Empower.

            206. Patients using compounded products that are tailored to their unique needs have

     additionally been harmed, regardless of whether the specialized products they need are altered

     variations of GLP-1 medications. Patients who were blocked by LegitScript from accessing

     specifically tailored variations of GLP-1 medications from compounding pharmacies that are not

     certified by LegitScript may have lost all access to a source that could provide medically



34
   See Ro Weight Loss Pricing, Ro.co, https://ro.co/weight-loss/pricing/ (last visited Mar. 22,
2025).
35
   See How Much Does Zepbound (Tirzepatide) Cost Without Insurance?, GoodRx,
https://www.goodrx.com/zepbound/weight-loss-tirzepatide-cost (last visited Mar. 22, 2025).
   Page 71 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 76 of 123




     appropriate GLP-1 medications as a result of LegitScript’s conduct. However, patients who were

     receiving specialized products for other treatments likewise may have lost access to medically

     appropriate versions of products they needed, at least temporarily, as a result of the disruption

     caused by LegitScript.     Indeed, given the extraordinary demand for compounded GLP-1

     medications during this time, the availability of other compounded medications that needed to

     be specifically tailored to a patient’s unique needs were already largely capacity constrained,

     only to be further restricted to those compounding pharmacies that were already

     LegitScript-certified.

            207. Patients of tirzepatide have shared their concerns with losing the option to purchase

     compounded tirzepatide, noting that they are “devastated that this option [(compounded

     tirzepatide)] is going away.”36 These worries are not unfounded, as after the timeline for

     pharmacies to stop making compounded versions of tirzepatide expires, the “only version

     available will be the FDA-approved, pricier type.” “For patients, this all adds up to a lot of

     confusion, changes, and, potentially, interruptions in treatment. The transition period will not be

     seamless.”37

            208. Empower’s customers have also been harmed by LegitScript’s unlawful conduct

     because those providers have needed to seek other, less efficient 503B facilities to source

     compounded products for their patients. LegitScript’s “Affiliates” rule prohibiting Empower’s

     customers from working with Empower due to its lack of LegitScript Certification forces

     Empower’s customers to expend additional costs to locate and source from LegitScript-certified



36
     Emily Stewart, See ya, Knock-off Ozempic, Bus. Insider (Jan. 22, 2025),
https://www.businessinsider.com/fda-compounded-tirzepatide-semaglutide-shortage-ozempic-
2025-1.
37
   Id.
   Page 72 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1       Filed 03/26/25      Page 77 of 123




503B outsourcing facilities. Even then, the providers’ newly chosen 503B outsourcing facility

may not ship nationwide (as Empower does), meaning those clinics and providers then have to

consolidate orders piecemeal across various pharmacy vendors. This is less efficient, as

providers then need to invest in methods to standardize the labeling and appearance of the

products and invest in procedures to ensure that each 503B facility conforms with state and

federal laws.

      C.        LegitScript’s Unlawful Conduct Has Harmed Empower.

           209. LegitScript’s unlawful conduct has directly and proximately caused Empower to

suffer millions of dollars of damages as a result of LegitScript coercing customers to stop doing

business with Empower, its commercial disparagement of Empower, and its implementation and

enforcement of anticompetitive rules prohibiting LegitScript-certified entities from purchasing

from entities like Empower that are not LegitScript-certified. As a result of LegitScript’s

violations of law, Empower has lost customers, business opportunities, customer good will, and

profits.

           210. LegitScript’s anticompetitive conduct has specifically caused harm to Empower

Pharmacy’s business. Empower Pharmacy, operating under Section 503A of the FD&C Act,

specializes in compounding patient-specific medications tailored to individual needs.

LegitScript’s anticompetitive conduct, however, has impeded Empower Pharmacy’s ability to

conduct its day-to-day operations and serve patients who have specific needs. LegitScript’s

anticompetitive conduct—the unreasonable enforcement of its “Affiliates” rule—has limited this

growth and threatened competition in the market for compounded, patient-specific drugs. As a

result of LegitScript’s anticompetitive conduct, LegitScript-certified healthcare providers, or

those seeking LegitScript Certification, are unable to access Empower Pharmacy as a partner

Page 73 -        COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 78 of 123




pharmacy for patient-specific drugs.        Empower Pharmacy, despite being a legitimate

compounding pharmacy authorized to conduct business under the relevant state and federal laws,

has found itself unable to access an entire segment of its customer base, severely impacting its

overall business.

       211. LegitScript’s anticompetitive conduct has likewise caused harm specifically to

Empower Pharma’s business. Empower Pharma is in the business of compounding, selling, and

distributing a wide variety of products that treat an assortment of conditions. Empower Pharma’s

business depends on its ability to enter into business relationships with healthcare providers and

pharmacies, but LegitScript’s conduct has directly impeded its ability to access these distribution

channels. As a direct result of LegitScript’s communications with Empower’s customers, for

example, numerous customers that had been using Empower Pharma as their outsourcing facility

stopped doing business with Empower.            Likewise, as a direct result of LegitScript’s

communications with Empower’s customers, numerous prospective customers of Empower

Pharma excluded the possibility of a business relationship with Empower Pharma. The overall

effect of LegitScript’s anticompetitive conduct on Empower Pharma has not only resulted in lost

revenues for Empower Pharma, but has also harmed Empower Pharma’s ability to continue to

grow and invest in additional areas of business such as testing services in support of clinical

trials. In February 2024, Empower Pharma acquired a compounding facility in East Windsor,

New Jersey, adding a second outsourcing facility to its business. The acquisition marked

Empower Pharma’s second FDA-registered pharmaceutical site. With the acquisition, Empower

Pharma expanded its compounding capabilities and aimed to produce up to 110 million vials

annually as well as engage in testing services in support of clinical trials. Empower Pharma’s

substantial investment, however, is being threatened by LegitScript’s anticompetitive conduct.

Page 74 -      COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 79 of 123




     LegitScript’s unlawful conduct has already caused—and, if not corrected, will continue to

     cause—Empower Pharma to be substantially foreclosed from the distribution channels to which

     it would otherwise have access.

IV.       LegitScript’s Anticompetitive Conduct Has Harmed Competition in Several Relevant
          Markets

            212. There are several antitrust markets that are relevant to understanding and evaluating

     LegitScript’s anticompetitive conduct: (1) the market for certification of healthcare providers

     and pharmaceutical service providers with an online presence (the “certification market” or

     “tying market”); (2) the market for the manufacturing and sale of compounded products

     (“compounding market”), including relevant markets (a) for the sale of compounded products

     that are personalized or tailored to a patient’s specific needs; (b) for the sale of compounded

     prescription products by outsourcing facilities for administration by providers in their healthcare

     facilities (e.g., by hospitals); and (c) for the sale of prescription medications during periods of

     shortages as identified by the FDA; and (3) product markets for the various products that are

     compounded, which are set forth herein as “cluster markets” for analytic convenience and

     include, for example, (a) the market for GLP-1s; (b) the market for hormone replacement therapy

     or “HRT” treatments; (c) the market for sexual dysfunction treatments; (d) the market for

     dermatological products and treatments; (e) the market for fertility treatments; (f) the market for

     mental health products; and (g) the market for longevity and anti-aging products.38




38
      See U.S. Dep’t of Justice, 2023 Merger Guidelines,                                available    at:
https://www.justice.gov/atr/merger-guidelines/tools/market-definition.
   Page 75 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 80 of 123




          A.      The Market for Certification of Healthcare Providers and Pharmaceutical Service
                  Providers with an Online Presence Is Highly Concentrated and Controlled by
                  LegitScript.

            213. The market for certification or accreditation of telemedicine providers, online

     pharmacies, 503A compounding pharmacies and 503B outsourcing facilities encompasses

     various accreditation organizations that individually vet applicants based on set standards and

     grant a “seal of approval” to applicants they determine meet those stated standards.

            214. Industry participants recognize online pharmacy “verification,” “certification,” or

     “accreditation” as a unique market.39 PharmacyChecker.com, a competitor in this area, has itself

     defined online pharmacy verification as a distinct and highly concentrated market in which it

     competes with NABP, LegitScript, and CIPA. CIPA, however, is a trade association of Canadian

     pharmacies and only certifies Canadian websites that comply with Canadian laws and thus is not

     a viable certification option for Empower or its U.S. customers. PharmacyChecker.com likewise

     is no longer a viable certification option because, as it has alleged in its own antitrust litigation

     against LegitScript, NABP, ASOP and others, it “has now effectively been excluded from the

     market as a result of defendants’ shadow regulation.”

            215. As a result of the web of agreements LegitScript has now entered into with the

     leading search engine and social media platforms, some of which specifically require a

     LegitScript Certification (and will not accept an NABP certification as a substitute) for online

     pharmacies to advertise on their platforms, LegitScript is the only certification option for these

     entities to gain access to the advertising channels they need to compete. As a digital marketing



39
  Generally, the term “online pharmacy … means a person, entity, or Internet site, whether in the
United States or abroad, that knowingly or intentionally delivers, distributes, or dispenses, or offers
or attempts to deliver, distribute, or dispense, a controlled substance by means of the Internet.” 21
U.S.C. § 802(52)(A).
   Page 76 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 81 of 123




     company serving the healthcare industry notes, “if you are prescribing medication of any kind at

     your facility, you have to have LegitScripts to be able to market through search engines. Period,

     end of story, [it] is a must-have. Google, [a leading social media platform], [and] all of the online

     markets will shut down any paid advertisements that you have if you are not LegitScript certified.

     … [S]o long as you are marketing online, whether you are a brick-or-mortar or a purely online

     business, it is important and absolutely a requirement—a mandatory requirement—that you have

     LegitScripts.” See also Ex. 16 (identifying additional platforms, payers, and companies that use

     LegitScript).

            216. LegitScript initially derived its power in the certification market from its

     agreements with major search engines and social media platforms that have resulted in

     LegitScript becoming the gatekeeper for telemedicine providers and online pharmacies seeking

     to advertise online. For example, LegitScript’s marketing on its website advertises its Healthcare

     Certification Partners, listing Google, social media platforms, video streaming websites, and an

     established professional networking platform all as “strategic partners.”40 Google and social

     media platforms that are critical to the competitive success of Empower’s customers, by way of

     their partnerships with LegitScript, have effectively delegated to LegitScript the power to decide

     who may or may not display ads on their respective platforms.

            217. For example, Google’s ad policy permits telemedicine providers to advertise on its

     search engine only “if they are accredited by LegitScript’s Healthcare Merchant Certification

     Program.”




40
    LegitScript Certification: Strategic Partners, LegitScript, https://www.legitscript.com/
certification/strategic-partners/ (last visited Mar. 22, 2025).
   Page 77 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 82 of 123




            218. Similarly, a leading social media platform that operates multiple social media

     websites and applications, requires pharmaceutical manufacturers, online pharmacies, and

     telemedicine providers to obtain a LegitScript Certification prior to advertising on its platforms

     and does not recognize an NABP certification.

            219. In addition to search engine and social media platforms, YouTube also requires a

     LegitScript Certification for telemedicine providers seeking to advertise on its platform.

            220. An established professional networking website allows pharmacy and telehealth

     service providers to place ads on its website but only when they originate from LegitScript-

     certified or NABP-accredited advertisers; the platform then provides a link only to LegitScript’s

     certification page. Users are not directed to visit the NABP website.

            221. Although online pharmacy and telemedicine providers may seek a NABP

     certification, LegitScript Certification, or both, an NABP certification is accordingly not a viable

     substitute for a LegitScript Certification. In practice, for telemedicine providers, LegitScript’s

     Healthcare Merchant Certification is the only certification that various leading platforms will

     accept prior to allowing them to advertise on their respective platforms. As noted by one

     publication, “[w]hile the … NABP is also recognized by some platforms, LegitScript is the more

     common choice for digital health brands due to its streamlined process and broader

     acceptance.”41

            222. LegitScript itself has recognized a distinction between its own certification and an

     NABP certification. For example, LegitScript’s website classification system recognizes its own

     certification as separate and distinct from a NABP certification. A website that is NABP-certified


41
   LegitScript Certification For Health Marketing: Everything You Need To Know, 360 OM,
https://www.360om.agency/news-insights/legitscript-certification-for-health-marketing-
everything-you-need-to-know (last visited Mar. 22, 2025).
   Page 78 - COMPLAINT
    Case 3:25-cv-00514-AB             Document 1        Filed 03/26/25       Page 83 of 123




but not LegitScript-certified would be classified merely as “Legitimate.” The only way for a

website to earn the “Certified” classification is to go through LegitScript’s certification process.

          223. LegitScript’s increasingly aggressive enforcement of anticompetitive rules

prohibiting applicants and LegitScript-certified entities from purchasing products from entities

that are not LegitScript-certified, in turn, further reduces certification options to itself alone for

entities such as Empower whose business depends upon maintaining access to their online

pharmacy customers, which already require LegitScript’s certification to meaningfully compete

online.     While Empower already is PCAB-accredited, due to LegitScript’s unlawful and

anticompetitive conduct, PCAB accreditation is not a reasonable substitute for LegitScript’s

Healthcare Merchant Certification because only LegitScript’s certification can now maintain and

otherwise provide access to the telemedicine and online pharmacy customer relationships that

Empower needs to compete in the relevant markets further set forth below. LegitScript is thus

increasingly using this web of agreements to maintain and extend its monopoly power in the

certification market by excluding competitors, such as PharmacyChecker.com, from the

certification market and excluding competitors to LegitScript-certified entities from the market

for the supply of medicines to the entities that need or already have a LegitScript Certification.

          224. LegitScript offers three (3) different certification programs depending on the nature

of the applicant’s business: Healthcare Merchant Certification, Addiction Treatment

Certification, and CBD Certification. As a provider of healthcare services, Empower and its

competitors have sought or would seek a Healthcare Merchant Certification, which purports to

“vet pharmacies, telemedicine providers, telehealth providers, other healthcare providers, and

supply chain businesses including pharmaceutical manufacturers, wholesalers, and



Page 79 -        COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 84 of 123




     distributors.”42   According to LegitScript, its Healthcare Merchant Certification program

     purportedly distinguishes between “‘rogue’ internet pharmacies” that “expose consumers to

     danger” and are “operating with flagrant disregard for the law” and “legitimate pharmacies trying

     to reach patients in need.”

             225. Applicants for LegitScript’s Healthcare Merchant Certification are required to pay

     a nonrefundable, one-time application fee and, once certified, an annual certification fee per

     website. As of February 2020, the one-time application fee per website was $975, while the

     annual fee per website was $2,150.43

             226. On information and belief, payments LegitScript receives from entities with which

     it has agreements, such as Google and social media platforms, and other stakeholders in

     LegitScript’s business, dwarf the remuneration it receives from certification applicants and bias

     LegitScript’s certification and rule-making process. Rather than a unilateral and independent

     certification and rule-making process, these business partners have the ability to influence the

     outcome of application determinations and the imposition of rules LegitScript enforces, such as

     the “Affiliates” rule, to the detriment of competitors and free and fair competition.

             227. To apply, applicants complete a questionnaire on LegitScript’s website, which asks

     for information including, but not limited to, information about the applicant’s business,

     licensing and registration, the applicant’s website and/or mobile application, information about

     the applicant’s partner pharmacy or pharmacies, and regulatory (e.g., FDA, DEA, state boards




42
     How to Get Your LegitScript Healthcare Merchant Certification, LegitScript,
https://www.legitscript.com/healthcare/how-to-healthcare-certification/ (last visited Mar. 22,
2025) (providing “step-by-step instructions” for applicants of LegitScript’s Healthcare Merchant
Certification).
43
   Id.
   Page 80 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 85 of 123




     of pharmacy) history. If certified, the applicant may display a badge on its website, indicating

     to visitors that it has obtained its LegitScript Healthcare Merchant Certification.

            228. LegitScript is the only private service of that kind recognized by NABP. When

     LegitScript launched its Healthcare Merchant Certification in 2008, it became “the first endorsed

     by the National Association of Boards of Pharmacy.” Ex. 13 at 3.

            229. While NABP recognizes LegitScript, NABP itself also offers its own certification

     programs. Through NABP, telemedicine providers and online pharmacies may seek to obtain an

     Healthcare Merchant Accreditation which “ensures that merchants are properly licensed and

     follow applicable laws and business best practices.”44 NABP also maintains a program specific

     to online pharmacies; online pharmacies may choose to seek a NABP Digital Pharmacy

     Accreditation.45   However, in contrast to NABP’s Healthcare Merchant Accreditation and

     LegitScript’s Healthcare Merchant Certification, NABP’s Digital Pharmacy Accreditation is

     only available to pharmacies with “a website offering at least one interactive pharmacy practice

     component ([e.g.,] patient counseling/communication, new/refills/transfer prescription orders,

     patient/prescriber portals).”46 Thus, telemedicine providers without “at least one interactive

     pharmacy practice component” are ineligible to apply for NABP’s Digital Pharmacy

     Accreditation. In addition, although it is offered as a separate product, in order to obtain a NABP




44
      Healthcare     Merchant    Accreditation, Nat.       Assoc.      of   Bds.    of   Pharm.,
https://nabp.pharmacy/programs/accreditations/healthcare-merchant/ (last visited Mar. 22, 2025).
45
   A precursor to the NABP’s Digital Pharmacy Accreditation was the Verified Internet Pharmacy
Practice Sites NABP (“VIPPS”) program which, like the NABP Digital Pharmacy Accreditation
evaluated and granted certain online pharmacy practice sites a seal of approval.
46
    Digital Pharmacy, Nat. Assoc. of Bds. of Pharm., https://nabp.pharmacy/programs/
accreditations/healthcare-merchant/eligibility-requirements-and-standards/ (last visited Mar. 22,
2025).
   Page 81 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 86 of 123




     Digital Pharmacy Accreditation, online pharmacies must first obtain a NABP Healthcare

     Merchant Certification.

            230. LegitScript describes its certification services as “a recognized stamp of approval

     for the internet and payments companies that do business with … healthcare companies” (Ex. 13

     at 3), and “a recognized seal of approval that enables businesses to showcase their compliance,

     unlock opportunities to advertise, and accept digital payments.”47

            231. LegitScript has erected high barriers to entry to the certification market as a result

     of the web of agreements it has entered with Google, a leading social media platform, Visa, and

     Mastercard,48 as well as by prohibiting LegitScript-certified entities from purchasing products

     from entities that are not also LegitScript-certified. Having benefited from a first-mover

     advantage in the certification of online pharmacies and telemedicine providers, LegitScript now

     strengthens the barriers to entry due to network effects making it increasingly necessary to

     become certified by LegitScript regardless of whether its platform agreements identify

     LegitScript as the only acceptable certification.

            232. In sum, because telemedicine providers, online pharmacies, healthcare merchants,

     Google, a dominant social media platform, YouTube, and others do not consider NABP, PCAB,

     or other certifications to be reasonable substitutes for LegitScript’s Healthcare Merchant

     Certification given their varying characteristics, uses, and pricing, a small but significant

     increase in the price of LegitScript’s Healthcare Merchant Certification and certification services

     from the competitive level would not be expected to cause entities seeking LegitScript’s




47
     Certification, LegitScript, https://www.legitscript.com/certification/ (last visited Mar. 22, 2025).
48
     See Ex. 16 (listing entities with which LegitScript has agreements).
     Page 82 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1       Filed 03/26/25       Page 87 of 123




     certification to switch to other certifications to an extent such as to have made those prices

     unprofitable.

          B.         LegitScript Has the Power to Exclude Healthcare Merchants, Telemedicine
                     Providers, and Online Pharmacies from Access to Online Markets, Patients, and
                     Relationships Needed to Compete.

            233. LegitScript acknowledges that it has the power to deprive healthcare merchants

     more broadly from accessing basic tools needed to compete online. For example, LegitScript’s

     website informs visitors that “LegitScript Certification helps ensure that merchants can fully

     participate in online advertising, e-commerce, and payment processing programs.”49

            234. In an August 14, 2023 press release, LegitScript reiterated the value of a LegitScript

     Certification for telemedicine providers, stating: “Nearly 80% of customers use online platforms

     to research healthcare providers, including pharmacies and telehealth. That makes online

     advertising a critical component of any healthcare provider’s digital marketing strategy.”50

            235. A LegitScript blog post entitled “The Benefits of Each Certification for Your

     Business” published on LegitScript’s website announced that “77% of patients use online

     search to find a new healthcare provider.” According to the blog post, “Platforms Around the

     Globe Require LegitScript Certification to Unlock Advertising and Payment Processing.”51

            236. A Healthcare Certification Executive Summary published by LegitScript and

     available on the LegitScript website likewise acknowledged: “It’s through search engines and

     social media that most patients are now finding their healthcare services.”


49
   LegitScript, Frequently Asked Questions, https://www.legitscript.com/certification/healthcare-
certification/faq/ (last visited Mar. 22, 2025).
50
   Press Release, Business Wire, LegitScript Certification Enables Advertising for Healthcare
Businesses on LinkedIn (Aug. 14, 2023), https://www.businesswire.com/news/home/
20230814533977/en/LegitScript-Certification-Enables-Advertising-for-Healthcare-Businesses-
on-LinkedIn.
51
   Id.
   Page 83 - COMPLAINT
         Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 88 of 123




            237. Based on the above, not only do telemedicine providers and online pharmacies rely

     on digital advertising to reach patients, but patients also rely on internet resources to find other

     healthcare and pharmacy providers as well.

            238. In line with LegitScript’s messaging, participants in the digital healthcare services

     space have also come to view obtaining a LegitScript Certification as an essential step in their

     overall marketing strategies. As a LegitScript-Certified entity noted in a testimonial published

     by LegitScript, “[m]ost people are now accessing information online, and through [LegitScript

     Certification], our company is using targeted marketing on online and digital spaces to reach our

     target audience.” Ex. 13 at 18.

            239. In an interview published to LegitScript’s website, the CEO of a telehealth services

     provider and LegitScript-certified entity, stated: “For any business aiming to establish itself as a

     reputable digital care provider, obtaining LegitScript Certification is not just an industry standard

     but an essential requirement.”52 He also described “[o]btaining LegitScript Certification and

     establishing a partnership” as being “integral to our platform, enabling our clients to effectively

     advertise across all social media and advertising platforms.”53

            240. In another testimonial submitted by an online mail-order pharmacy, the company’s

     co-founder stated: “Getting LegitScript-certified should be one of the first things a company does

     when they’re looking to enter the digital health space. LegitScript Certification is part of the

     core foundation upon which you can build telemedicine and telehealth infrastructure.”54



52
     Why Virtual Healthcare Service Provider WellSync Requires Its Network to Be
LegitScript-certified, LegitScript https://www.legitscript.com/customers/wellsync-requires-
certification/ (last visited Mar. 22, 2025).
53
   Id.
54
   Why did Epiq Scripts Choose LegitScript Certification? LegitScript, https://www.legitscript.
com/customers/epiq-scripts/ (last visited Mar. 22, 2025).
   Page 84 - COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25      Page 89 of 123




       241. Similarly, a testimonial submitted by the co-founder and co-CEO of another

LegitScript-Certified entity states: “LegitScript Certification … got us approved as advertisers

on Google, [a leading social media platform], Taboola, and others. Without it, we would not be

able to advertise on those platforms.” Ex. 13 at 5.

       242. LegitScript continues to market its services as a necessary step to being able to

advertise on Google and social media platforms. On the other side of the same coin, the

consequences of failing to obtain a LegitScript Certification are clearly announced by

LegitScript; as LegitScript has noted, without certification, “many banks, advertising programs,

social media platforms, and ecommerce websites will terminate your account.”

       243. Failure to obtain a LegitScript Certification likewise carries with it negative

implications advanced by LegitScript via its online copy. For example, on LegitScript’s website,

LegitScript states that Google, social media platforms, Visa, and Mastercard, among other

internet platforms, “all recognize LegitScript Certification to show the world their providers

operate legally,” thereby implying that the absence of a LegitScript Certification indicates non-

compliance with applicable laws and regulations. Similarly, LegitScript’s Healthcare Merchant

Certification program purports to distinguish between “‘rogue’ internet pharmacies” that “expose

consumers to danger” and are “operating with flagrant disregard for the law” from “legitimate

pharmacies trying to reach patients in need,” and its website prompts visitors to “enter a website

to see if it is LegitScript-certified, legitimate, or rogue,” suggesting that legitimate pharmacies

that are not approved by LegitScript are instead illegitimate or rogue merely because they are

not approved by this private entity that has sought to entitle itself to regulate the pharmaceutical

market.



Page 85 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 90 of 123




       244. In carrying out its Merchant Healthcare Certification program, LegitScript retains

the power to “grant, deny, or revoke [an applicant’s] certification application or certification

status for any reason and at any time.” Ex. 7 at 4. Additionally, LegitScript “expressly reserves

the right to refuse to consider any application.” LegitScript’s ability to turn applicants away—

and therefore deny them access to vital digital marketing channels—results in LegitScript having

enormous, coercive power over applicants seeking certification. That is, through its certification

programs, LegitScript is able to impose any standards it so chooses onto applicants who have no

meaningful choice but to comply if they wish to effectively participate in online advertising and

marketing.

       245. By making its Healthcare Merchant Certification a requirement for telemedicine

providers and online pharmacies to advertise on Google and social media platforms, LegitScript

has the power to deny legitimate telemedicine providers and online pharmacies access to online

advertising and therefore severely stifle their ability to access and compete for patients.

       246. In sum, LegitScript has become the monopoly gatekeeper between providers of

online advertising and certain customers—i.e., between advertising providers, such as Google,

social media platforms, YouTube, or other internet platforms, and a set of their customers seeking

to advertise on those forums, including telemedicine providers, online pharmacies, and

increasingly, other healthcare merchants whose business relies on sales to such customers. As

has now been established in several antitrust proceedings, there are no close substitutes for

advertising on platforms such as Google or other critical social medial platforms to which these

customers could turn to satisfy their advertising needs.




Page 86 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 91 of 123




     C.       The Market for the Manufacture and Sale of Compounded Products

       247. The second relevant market in which to evaluate LegitScript’s anticompetitive

conduct is the market for the manufacture and sale of compounded products, which includes

distinct market segments with unique economic characteristics (a) for the sale of compounded

prescription products that are personalized or tailored to a patient’s specific needs; (b) for the

sale of compounded prescription products by outsourcing facilities for administration by

providers in their healthcare facilities (e.g., by hospitals); and (c) for the sale of prescription

products during periods of shortages as identified by the FDA. As set forth above in detail, the

distinctions across these markets are delineated by a complex regulatory structure that dictates

what compounded products can be manufactured at particular times under particular market

conditions.

       248. With respect to the sale of compounded prescription products that are personalized

or tailored to a patient’s specific needs, this market generally encompasses competition among

compounding pharmacies to manufacture and sell products that are specifically tailored for an

identified patient pursuant to preexisting prescriptions specific to particular patients. Sales in

this market are generally made by competing 503A compounding pharmacies, which have a

unique operational scope and regulatory framework compared to 503B outsourcing facilities.

Patients need personalized products when brand manufacturers’ products contain allergens, dyes,

or other impurities or characteristics unsuitable for specific individuals. This necessitates the

compounding of individually tailored products such that those individuals do not consider brand

manufacturers’ products to be reasonable substitutes given their varying characteristics.

Therefore, a small but significant increase in the price of products that are compounded to suit a




Page 87 -      COMPLAINT
    Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 92 of 123




patient’s particular needs would not cause those patients or healthcare providers ordering

products on their behalf to switch to branded or non-compounded products.

       249. The evidence that compounding products constitutes a relevant antitrust market is

clear from the price differential between branded and compounded products and the fact that

while branded and compounded drugs are (at times and for some patients) substitutes, the

primary constraint on the pricing of compounded drugs is competition from other compounders.

In other words, a price increase by one compounder can be expected to induce switching to

another compounder, whereas a further price increase on the branded product above the current

level could be expected to shift patients toward compound drugs. Thus, compounded GLP-1

medications and branded GLP-1 medications each constitute a separate relevant market, but

compounded and branded semaglutide or tirzepatide (or all GLP-1 medications) constitute a

broader relevant market. As an example, if cars and pickup trucks are each a relevant market,

but cars and pickup trucks are also substitutable, then cars and pickup trucks also constitute a

broader relevant market such that a monopoly over both would be more profitable than two

separate monopolies.

       250. The market for the sale of compounded products by outsourcing facilities generally

encompasses bulk or larger batch sales of compounded products requested by healthcare facility

customers to have on hand to administer to patients in their medical facilities pursuant to

prescriptions written by the doctors at those facilities, such as for pain management products or

blood thinners, but may also include products compounded pursuant to a patient-specific

prescription as well. This market generally comprises competing 503B outsourcing facilities

and the products that may be compounded pursuant to an FDA-approved list of what ingredients

may be used specifically by 503B outsourcing facilities to compound products as compared to

Page 88 -     COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25         Page 93 of 123




the distinct FDA-approved list of active ingredients that are permitted to be used by 503A

compounding pharmacies. Thus, there are distinctions between both the products themselves

and the customers of 503A compounding pharmacies and 503B outsourcing facilities governed

by their distinct regulatory frameworks. Because healthcare facilities generally do not consider

non-compounded products to be reasonable substitutes for various compounded products given

their varying characteristics, uses, and pricing, a small but significant increase in the price of

compounded products sold by outsourcing facilities would not cause healthcare facilities to

switch significantly to alternative types of providers for those products.

       251. The market for the sale of prescription products during periods of shortages as

identified by the FDA encompasses the competition for the sale of products that are added by

the FDA to the shortages list when the demand or projected demand for a drug within the United

States exceeds the supply of the drug. When a drug is added to the FDA shortages list, the

slightly varied restrictions on 503A compounding pharmacies and 503B outsourcing facilities on

compounding essentially copies of an FDA-approved prescription drug are temporarily

suspended, creating unique economic conditions in this market characterized by excess demand

constrained by competitors’ manufacturing capacities and ability to respond quickly to satisfy

demand. Whereas there may be relative homogeneity among the types of entities competing in

the compounding markets above, during shortages, the types of entities competing for sales of

prescription drugs and essentially copies thereof, may expand to include not only compounding

pharmacies, but also distributors selling products compounded by other entities, such as an entity

like Ro, and brand manufacturers themselves.

       252. As reported, the head of operations in the United States of the brand manufacturer

of semaglutide stated on the fourth-quarter earnings call around early February 2025 that the

Page 89 -      COMPLAINT
         Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25       Page 94 of 123




     company’s “latest market intelligence” indicated that competition from compounded versions of

     GLP-1 medications “is having an impact and it is growing faster than [the brand manufacturer]

     anticipated.”55

            253. However, where compounding pharmacies manufacture products that are

     specifically tailored to a patient’s need to avoid ingredients in brand medications that are not

     medically appropriate then the market for the sale of those products will only include

     compounding manufacturers that are able to manufacture those specifically tailored products for

     the patient, even during national shortages.

          D.      Product Markets for Products That May Be Compounded

            254. Various product markets for products that may be compounded are also relevant to

     the assessment of LegitScript’s anticompetitive conduct.              Given that LegitScript’s

     anticompetitive and exclusionary conduct has impacted the sales of all of the types of

     compounded products that Empower previously sold to customers coerced by LegitScript to

     boycott Empower, products are clustered below for analytical convenience.

            255. As the U.S. Department of Justice Merger Guidelines provide, “a relevant antitrust

     market is generally a group of products that are substitutes for each other … [however] … when

     the competitive conditions for multiple relevant markets are reasonably similar, it may be

     appropriate to aggregate the products in these markets into a ‘cluster market’ for analytic

     convenience, even though not all products in the cluster are substitutes for each other.”56 Courts



55
   Shelby Livingston, Novo Nordisk is feeling the competition from compounded GLP-1s, exec
says, End Points News (Feb. 5, 2025), https://endpts.com/novo-nordisk-is-feeling-the-
competition-from-compounded-glp-1s-exec-says/ (reporting that “many Americans have flocked
to cheaper, compounded versions of GLP-1 weight loss drugs in lieu of brand-name treatments”).
56
   U.S. Dep’t of Just., Merger Guidelines 4.3.D.4, https://www.justice.gov/atr/merger-
guidelines/tools/market-definition#.
   Page 90 - COMPLAINT
    Case 3:25-cv-00514-AB             Document 1         Filed 03/26/25        Page 95 of 123




have recognized that cluster markets may also be appropriate where consumer demand exists for

the cluster itself (e.g., car and tires, left and right shoes), such as with respect to clustered product

markets combining complementary prescription drugs, i.e., drugs that are not substitutes even if

not all of the specific drugs within a cluster are close substitutes.

        256. Barriers to entry and expansion in the relevant antitrust markets for the products

below are high because entering these markets requires overcoming substantial capital, technical,

regulatory, and legal barriers. The ability to enter and compete in these markets is highly

regulated and, as set forth above, is subject to complex systems of federal and state regulations

that delineate what competitors may manufacture what products containing what specific active

ingredients and the timing permissible for such manufacturing under distinct market conditions.

        257. LegitScript’s exclusionary and unreasonably anticompetitive agreements have

likewise created barriers to entry and expansion that are unlikely to be overcome without court

intervention.

                i.      The Market for the Supply of GLP-1 Medications

        258. GLP-1 medications consist of both GLP-1 agonists and dual GLP-1/GIP receptor

agonists (together, “GLP-1 medications” or “GLP-1s”).

        259. The market for the supply of GLP-1 medications consists of manufacturers of

brand-name medications supplied by the manufacturer and patient-specific and essentially copies

of GLP-1 medications supplied by compounding pharmacies such as Empower that are available

for sale, distribution, and consumption in the United States.

        260. GLP-1 medications are manufactured and supplied for healthcare providers to

prescribe to patients. Thus, this market encompasses GLP-1 medications prescribed to treat type

2 diabetes or as a weight loss treatment.

Page 91 -            COMPLAINT
    Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 96 of 123




       261. The market for the supply of GLP-1 medications includes all lawful sellers of the

following GLP-1 agonist medications currently available in the United States market:

duaglutide; exenatide; exenatide extended-release; liraglutide; lixisenatide; semaglutide

injection; and semaglutide tablets. This market also includes tirzepatide, a dual GLP-1/GIP

receptor agonist also prescribed to treat type 2 diabetes or as a weight loss treatment. The market

for GLP-1 medications includes those administered subcutaneously (i.e., via injection), and the

only GLP-1 medication currently available for oral administration: the semaglutide tablet.

       262. Each specific GLP-1 medication constitutes its own market that is limited by the

prescription written for the patient, such as for semaglutide injections or tirzepatide injections.

However, there is also a cluster market more broadly for GLP-1s as a result of the extraordinary

consumer demand that exists for the cluster itself, particularly during the national shortage of

semaglutide and tirzepatide, when the very high prices for these drugs have increased consumers’

willingness to substitute between the various GLP-1 drugs.

       263. Healthcare providers enter into pharmacy provider agreements with manufacturers

of GLP-1 medications for their supply of the drug or drugs. When a brand-name GLP-1

medication is not available—for example, due to a drug shortage caused by increased demand—

healthcare providers may enter into pharmacy provider agreements with compounders who are

legally authorized to manufacture patient-specific versions of GLP-1 medications and/or

essentially copies of FDA-approved GLP-1 medications.

       264. Patients may be willing to switch between alternative GLP-1 drugs in response to

a significant change in their relative prices. However, as shown during the national shortages of

semaglutide and tirzepatide, because consumers do not consider other weight-loss and/or

diabetes medications to be reasonable substitutes for GLP-1 medications given their perceived

Page 92 -      COMPLAINT
    Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 97 of 123




effectiveness, varying characteristics, and uses, a small but significant increase in the prices of

GLP-1 medications as a group above current levels would not cause consumers or their

healthcare providers to switch to other treatments for weight loss, diabetes, and other indications

treated by GLP-1s.

       265. Although it lacks any authority whatsoever to do so, LegitScript has inserted itself

into the market for the manufacture and sale of compounded products, and relevant product

markets for products that may be compounded, by determining which pharmacies are able to

access key customers and distribution channels. For example, as discussed above, LegitScript

has mandated that suppliers of GLP-1 medications must be LegitScript-certified in order to

access LegitScript-certified healthcare providers and pharmacies needed to efficiently distribute

those products.

       266. While compounders and brand manufacturers compete for sales of essentially

copies of GLP-1 medications, there is a unique market for the sale of GLP-1 medications that

have been compounded to meet specific needs of patients for which branded GLP-1s are

medically inappropriate.

       267. Because commercial, brand-name products do not always meet patients’ needs,

503A compounding pharmacies create individualized products to meet those needs. Thus, even

when an FDA-approved drug (and its active ingredients) is not on the FDA-shortages list,

pharmacies classified as 503A pharmacies under the FD&C Act are permitted to compound

certain amounts of drugs that are essentially copies so long as the compounding is not done

“regularly or in inordinate amounts.” 21 U.S.C. § 353a. That is, by statute, “the term ‘essentially

a copy of a commercially available drug product’ does not include a drug product in which there

is a change, made for an identified individual patient, which produces for that patient a significant

Page 93 -      COMPLAINT
         Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 98 of 123




     difference, as determined by the prescribing practitioner, between the compounded drug and the

     comparable commercially available drug product.” Id. at § 353a(b)(2).

            268. For patients with specific needs as determined by their doctors, brand-name

     versions of tirzepatide or semaglutide are not suitable substitutes, as they cannot be specifically

     altered. Licensed compounders, on the other hand, have the legal authority to compound

     specifically altered versions of these GLP-1 medications when made in small quantities for

     identified individuals who have a valid prescription issued to them by a licensed healthcare

     provider.

            269. As discussed above, separate markets for GLP-1 medications can also be defined

     for individual customers or periods for (a) GLP-1 medications tailored to specific patient needs;

     (b) compounded GLP-1 medications supplied to medical facilities; and (c) compounded GLP-1

     medications manufactured as essentially copies during times of FDA-recognized supply

     shortages.

                  ii.     The Market for the Supply of Hormone Replacement Therapy Drugs and
                          Treatments

            270. Hormone replacement therapy, sometimes referred to as “HRT,” is a category of

     medical treatment used to “supplement the body with hormones that are no longer being

     produced or are produced in insufficient amounts.”57 While “commonly used to alleviate

     symptoms of menopause in women, such as hot flashes, night sweats, and mood swings … HRT

     can also be used for other hormone-related conditions or in transgender individuals undergoing

     gender-affirming hormone therapy.”




57
  Hormone Replacement Therapy (HRT), Yale Medicine, https://www.yalemedicine.org/clinical-
keywords/hormone-replacement-therapy (last visited Mar. 22, 2025).
  Page 94 - COMPLAINT
    Case 3:25-cv-00514-AB         Document 1       Filed 03/26/25      Page 99 of 123




       271. Hormone replacement therapy includes drugs and other treatments (i.e., topical

treatments like gels and creams) that have the purpose of supplementing the body’s production

of the following hormones: adrenal, estrogen, growth hormone, progesterone, testosterone, and

thyroid.

       272. This market encompasses manufacturers—including compounders—of hormone

therapy treatments. Manufacturers of hormone therapy replacement drugs and treatments

participate in this market by entering into pharmacy partnership agreements with healthcare

providers who treat hormone-related conditions, such as menopause.

       273. Hormone replacement therapy drugs and treatments include, but are not limited to,

the following drugs and treatments: anastrozole, estriol/estradiol medications and topical

treatments, dehydroepiandrosterone (“DHEA”) medications, hydrocortisone medications,

progesterone treatments, testosterone treatments, thyroid treatments, oxandrolone medications,

and pregnenolone medications.

       274. Depending on the patient, healthcare providers may combine the various treatments

available to treat symptoms caused by a reduced hormone production.

       275. Because consumers do not consider other medications to be reasonable substitutes

for compounded HRT medications given their varying characteristics, uses, and pricing

structures, a small but significant increase in the price of HRT medications would not cause

consumers to switch to other treatments.

            iii.    The Market for the Supply of Drugs and Treatments Targeting Sexual
                    Dysfunction

       276. The market for the supply of drugs and treatments targeting sexual dysfunction

encompasses manufacturers—including compounders—who manufacture drugs and treatments

for both men and women who experience sexual dysfunction. Sexual dysfunction disorders
Page 95 -     COMPLAINT
        Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25     Page 100 of 123




     encompass desire, arousal, orgasm, and pain disorders.58          Thus, suppliers in this market

     manufacture drugs and treatments targeting disorders in the above-listed categories. At a more

     granular level, this could include manufacturers of treatments for erectile dysfunction,

     anejaculation, vaginal dryness, low libido, and dyspareunia.

            277. Healthcare providers who treat sexual dysfunction enter into pharmacy partnership

     agreements with manufacturers of treatments targeting sexual dysfunction for their supply of

     medications that treat disorders falling into this category. A single healthcare provider may treat

     an array of sexual dysfunction disorders—rather than a single disorder by itself—in the above-

     listed categories, necessitating a pharmacy partnership in which the supplier manufactures

     treatments for more than just a single disorder.

            278. Drugs and treatment formulated to address sexual dysfunction include, but are not

     limited to, the following drugs and treatments: Bi-Mix, Tri-Mix, Quad-Mix, cabergoline,

     estriol/estradiol medications and topical treatments, oxytocin medications, pseudoephedrine,

     sildenafil, tadalafil, testosterone treatments, and vardenafil.

            279. Because consumers do not consider other medications to be reasonable substitutes

     for compounded treatments targeting sexual dysfunction given their varying characteristics, uses,

     and pricing structures, a small but significant increase in the price of these treatments would not

     cause consumers to switch to other treatments.

                  iv.     The Market for Supply of Dermatology Medications and Treatments

            280. Dermatology is the branch of medicine that deals with the diagnosis, treatment,

     and prevention of diseases, disorders, and conditions affecting the skin, hair, nails, and mucous



58
   Sexual Dysfunction, Cleveland Clinic, https://my.clevelandclinic.org/health/diseases/9121-
sexual-dysfunction (last visited Mar. 22, 2025).
  Page 96 - COMPLAINT
   Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 101 of 123




membranes. Healthcare providers who practice dermatology can address a wide range of skin-

related conditions, from acne and eczema to skin cancer.

       281. This     market     encompasses       manufacturers—including        compounders—of

medications and treatments prescribed by a licensed healthcare provider in the practice of

dermatology.

       282. Healthcare providers engaged in the practice of dermatology enter into pharmacy

partnership agreements for their supply of dermatology medications and treatments. Because

providers do not often treat only a single dermatological condition or issue, they require access

to pharmaceutical manufacturers offering a variety of medication and treatments formulated to

treat dermatological conditions.

       283. Dermatology medications and treatments include, but are not limited to, the

following drugs and treatments: acne gels, anti-fungal medications, biotin capsules and

injections, anti-aging gels, dermatitis creams, doxycycline, dutasteride, finasteride, hair-

restoration and scalp treatments, melasma creams and gels, rosacea creams and gels, and

prednisone.

       284. Because consumers do not consider other medications or treatments to be

reasonable substitutes for compounded treatments targeting dermatological conditions given

their varying characteristics, uses, and pricing structures, a small but significant increase in the

price of these treatments would not cause consumers to switch to other treatments.

               v.    The Market for Supply of Fertility Treatments

       285. Fertility treatments aim to enhance reproductive health and increase chances of

conception. The market of the supply of fertility treatments encompasses the manufacturing of




Page 97 -       COMPLAINT
        Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 102 of 123




     medications and treatments that aid with conception and pregnancy. Medication-based fertility

     treatments often include medications that help with hormones and ovulation.59

            286. Healthcare providers who treat infertility conditions enter into pharmacy

     partnership agreements for their supply of fertility treatments. Because an individual healthcare

     provider may prescribe different fertility treatments to address infertility conditions depending

     on the patient, suppliers of fertility treatments often manufacture multiple, different fertility

     treatment medications.

            287. Medication-based fertility treatments include, but are not limited to, the following

     drugs and treatments: cabergoline, clomiphene, enclomiphene, hydroxocobalamin, and

     progesterone.

            288. Because consumers do not consider other medications or treatments to be

     reasonable substitutes for compounded treatments targeting infertility conditions given their

     varying characteristics, uses, and pricing structures, a small but significant increase in the price

     of these treatments would not cause consumers to switch to other treatments.

                  vi.     The Market for the Supply of Mental Health Medications

            289. Medications can be used to treat mental health disorders and conditions. The

     market for the supply of mental health medications includes drugs formulated to improve brain

     health, treat depression and trauma-related conditions, treat anxiety and anxiety-related

     conditions, and provide mood support.

            290. Healthcare providers who treat mental health conditions enter into pharmacy

     partnership agreements for their supply of mental health medications. Because providers do not



59
  Fertility Treatments, Planned Parenthood, https://www.plannedparenthood.org/learn/pregnancy/
fertility-treatments (last visited Mar. 22, 2025).
   Page 98 - COMPLAINT
   Case 3:25-cv-00514-AB           Document 1         Filed 03/26/25       Page 103 of 123




often treat only a single mental health condition or issue, they require access to pharmaceutical

manufacturers offering a variety of medication and treatments formulated to treat various mental

health conditions.

       291. Medications formulated to treat mental health conditions include, but are not

limited to, bupropion, ketamine (including nasal sprays, orally disintegrating tablets, and

troches), fluoxetine, methylene, mirtazapine, modafinil, oxytocin, propranolol, sertraline,

topiramate, trazadone, and zolpidem.

       292. Because consumers do not consider other medications or treatments to be

reasonable substitutes for compounded treatments targeting mental health conditions given their

varying characteristics, uses, and pricing structures, a small but significant increase in the price

of these treatments would not cause consumers to switch to other treatments.

             vii.    The Market for the Supply of Longevity and Anti-Aging Drugs and
                     Therapies

       293. Longevity and anti-aging drugs and therapies are those formulated for the purpose

of slowing or reversing the aging process and/or to address age-related illnesses or problems

connected to aging. The market for the supply of longevity and anti-aging drugs and therapeutics

encompasses manufacturers who formulate and manufacture products formulated for the above-

stated purposes.

       294. Consumers interested in slowing or reversing the aging process and/or receiving

pharmaceutical treatment to address age-related illnesses or problems connected to aging may

seek care from healthcare providers who are authorized to prescribe such drugs and therapies.

Healthcare providers, in turn, enter into partnership agreements with manufacturers of longevity

and anti-aging drugs and therapeutics for their supply of products. Because providers do not

often treat only one type of longevity or anti-aging condition or concern, they require access to
Page 99 -      COMPLAINT
   Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25       Page 104 of 123




pharmaceutical manufacturers offering a variety of products formulated to treat longevity or anti-

aging concerns.

       295. Products formulated to slow or reverse the aging process and/or treat age-related

illnesses or problems include, but are not limited to, alpha-lipoic acid; anti-aging gels and creams

containing pharmaceutical ingredients such as niacin, niacinamide, sirolimus, ascorbic acid,

azelaic acid, alpha lipoic acid, estriol, progesterone, and tretinoin; branched-chain amino acid

(BCAA) injections; cholecalciferol (D3) injections and capsules; chromium picolinate;

coenzyme; DHEA; cyanocobalamin; GHK-CU facial serums; glutathione; nicotinamide adenine

dinucleotide (NAD+) (including creams, injections, and nasal sprays); methylene; modafinil;

niacin IR/SR; omnitrope; pregnenolone; propranolol; rapamycin (sirolimus); resveratrol;

selenium; norditropin; testosterone treatments; tretinoin; and zomacton.

       296. Because consumers do not consider other products to be reasonable substitutes for

compounded treatments targeting longevity and anti-aging concerns given their varying

characteristics, uses, and pricing structures, a small but significant increase in the price of these

treatments would not cause consumers to switch to other treatments.

     E.      The Geographic Market is the United States

       297. The relevant geographic market is no larger than the United States. Pharmaceutical

products are sold and regulated on a nationwide basis. Due to the importance of complying with

the federal regulatory framework applicable to compounding products in the United States, a

small, but significant, and non-transitory increase in the price of products compounded in the

United States would not cause prescribing physicians and patients to substitute in significant

numbers to other products or treatments that are not available in the United States.




Page 100 -     COMPLAINT
   Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25       Page 105 of 123




     F.      LegitScript’s Conduct Harms Interstate Commerce

       298. The compounded products at issue in this case are sold and distributed in interstate

commerce. LegitScript’s unlawful activities, as alleged above, have occurred in, and have had a

substantial impact on, interstate commerce.




Page 101 -    COMPLAINT
   Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25     Page 106 of 123




                                    CAUSES OF ACTION

   COUNT ONE: AGREEMENTS THAT UNREASONABLY RESTRAIN TRADE
     IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT, 15 U.S.C. § 1,
       Texas Antitrust Act, Texas Business and Commercial Code § 15.05(a),
                    New Jersey Antitrust Act, N.J.S.A. § 56:9-3

       299. Plaintiff Empower incorporates by reference the foregoing paragraphs 1 through

298 of this Complaint as if fully set forth herein.

       300. Defendant LegitScript and unnamed co-conspirators joined in a conscious

commitment to a common scheme designed to achieve an unlawful objective—the suppression

of competition through the delay and restraint of competition in the market for the manufacture

and sale of compounded products and relevant product markets for products that may be

compounded.

       301. Defendant LegitScript and unnamed co-conspirators have committed overt acts, as

described above, in furtherance of this unlawful, common scheme that together and individually

have unreasonably, substantially, and unjustifiably restrained competition in the relevant markets

and that have caused actual adverse market effects by delaying and restraining competition;

depriving providers, clinics, and patients the benefits of price competition and lower prices; and

by restraining output for compounded products, including compounded GLP-1 medications,

semaglutide and tirzepatide.

       302. As part of this overarching unlawful scheme to suppress competition, LegitScript

has repeatedly violated the law by entering into anticompetitive agreements that have

unreasonably and unjustifiably restrained competition, including at least:

             A. exercising bias in its adoption and application of LegitScript’s Healthcare

                 Merchant Certification Standard 5 (the “Affiliates” rule) prohibiting applicants



Page 102 -    COMPLAINT
   Case 3:25-cv-00514-AB             Document 1     Filed 03/26/25     Page 107 of 123




                for certification from being “affiliated” with a non-LegitScript certified

                pharmacy or outsourcing facility;

             B. using its “Affiliates” rule to coerce Empower’s customers to stop doing

                business with Empower, or to not enter into a business relationship with

                Empower, thereby restricting Empower’s access to key customers and

                distribution channels needed to compete;

             C. directly informing Empower’s customers that, as a rule, a business relationship

                with Empower constitutes a barrier to certification;

             D. arbitrarily imposing a six (6) month waiting period before Empower would be

                eligible to reapply for certification, allowing LegitScript to continue its

                unreasonable enforcement of its “Affiliates” rule against Empower;

             E. arbitrarily imposing a rule prohibiting LegitScript-certified 503A pharmacies

                from sourcing products from 503B outsourcing facilities that are not

                LegitScript-certified despite lacking any authority to impose such a restriction

                and without the practical means to enforce the rule in an unbiased and non-

                discriminatory manner;

             F. enforcing its “Affiliates” rule in an arbitrary and biased manner against

                Empower while allowing Empower’s competitors to access customers and

                distribution channels despite apparent non-compliance with LegitScript’s

                “Affiliates” rule;

             G. on information and belief, allowing unidentified co-conspirators and

                competitors of Empower to exert undue influence over its Healthcare Merchant

                Certification process to deny Empower a LegitScript Healthcare Merchant

Page 103 -   COMPLAINT
   Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 108 of 123




                 Certification and again, allowing LegitScript to continue to unreasonably

                 enforce its “Affiliates” rule to restrain Empower from accessing key customers

                 and distribution channels;

             H. continuing to maintain and facilitate the agreement with providers, clinics, and

                 other Empower customers to boycott and concertedly refuse to deal with

                 Empower as a supplier of compounded products, including compounded GLP-

                 1 medications; and

             I. on information and belief, continuing to maintain and facilitate the agreement

                 between providers, clinics, and other Empower customers to boycott and

                 concertedly refuse to deal with Empower as a supplier of compounded products,

                 including compounded GLP-1 medications, as a result of an agreement with

                 and to the benefit of pharmaceutical manufacturers and telemedicine companies

                 with whom LegitScript maintains close ties.

       303. As detailed above, LegitScript has market and monopoly power in the market for

certification of telemedicine providers, online pharmacies, 503A pharmacies, and 503B

outsourcing facilities.

       304. LegitScript has leveraged its market and monopoly power in the market for

certification to unreasonably restrain trade in the market for the manufacture and sale of

compounded products and relevant product markets for products that may be compounded.

       305. By communicating its unreasonable rule prohibiting Empower’s customers—

clinics and providers who compete with one another—from working with Empower, LegitScript

has instituted and enforced a group boycott and “concerted refusal to deal” of Empower by these

customers. These agreements constitute unlawful concerted refusals to deal because two or more

Page 104 -    COMPLAINT
   Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 109 of 123




unaffiliated entities have agreed not to deal with Empower as a result of LegitScript’s coercion

unjustifiably distorting the competitive process. LegitScript has participated in these unlawful

concerted refusals to deal by facilitating the group boycott and informing Empower’s customers

that competing applicants and LegitScript-certified entities are likewise required to boycott

Empower. These agreements also constitute unlawful group boycotts because they are designed

to substantially foreclose Empower’s access to key customers and necessary distribution

channels.

       306. This web of agreements to refuse to deal with Empower facilitated by LegitScript

cannot be justified by any purportedly procompetitive purpose, such as to ensure the safety and

quality of compounded products sold through clinics and providers, because LegitScript

regularly certifies similarly situated compounding pharmacies with similar types of regulatory

and compliance “issues” that LegitScript has identified as grounds for refusing to certify

Empower. Moreover, LegitScript does not evenly enforce its “Affiliates” rule, leading to the

conclusion that its purpose is to prevent some pharmacies and outsourcing facilities, such as

Empower, from fully accessing the market. Additionally, LegitScript lacks any authority to

regulate the pharmaceutical market and is without the practical ability to ensure unbiased and

non-discriminatory regulation of the market.

       307. Absent any procompetitive justification, clinics and providers’ refusals to deal with

Empower facilitated by LegitScript serve the anticompetitive purpose of cutting Empower off

from the buyer market for compounded drugs.

       308. Clinics and providers’ refusals to deal with Empower facilitated by LegitScript also

serve the anticompetitive purpose of reducing output in the market for compounded products by

forcing clinics and providers to act against their own economic interest; by agreeing to refuse to

Page 105 -    COMPLAINT
   Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25     Page 110 of 123




deal with Empower, clinics and providers are coerced into obtaining their supply of compounded

products from compounding pharmacies that lack the ability to match Empower’s operational

volume which is significantly less cost effective and are therefore forced to pay higher prices

than they would in a competitive market.

       309. These concerted refusals to deal have unreasonably restrained trade and resulted in

reduced price competition in the market for the manufacture and sale of compounded products

and the relevant product markets. These concerted refusals to deal have further led to a

substantial reduction in prescriber, pharmacy, and patient choice.

       310. Defendants’ conduct takes place in and restrains interstate commerce.

       311. Defendants’ conduct has had a substantial effect on intrastate commerce within the

state of Texas.




Page 106 -    COMPLAINT
   Case 3:25-cv-00514-AB            Document 1       Filed 03/26/25       Page 111 of 123




                             COUNT TWO: TYING
 VIOLATION OF SECTIONS 1 AND 2 OF THE SHERMAN ACT, 15 U.S.C. §§ 1, 2,
      Texas Antitrust Act, Texas Business And Commercial Code § 15.05(c),
                   New Jersey Antitrust Act, N.J.S.A. § 56:9-3

       312. Empower incorporates by reference the foregoing paragraphs 1 through 311 of this

Complaint as if fully set forth herein.

       313. LegitScript’s agreements with customers that require them to purchase products

from LegitScript-certified entities, or at least not to purchase compounded products from

Empower, if they wish to purchase LegitScript’s certification constitute unlawful tying

arrangements.

       314. These tying arrangements unreasonably restrain and substantially foreclose

competition for the sale of compounded products.

       315. LegitScript’s certification, on the one hand, and compounded or branded products,

on the other, are separate and distinct products.

       316. LegitScript’s market and monopoly power in the certification market gives it

sufficient market power or control over the supply of advertising to online pharmacies to coerce

those online pharmacies to purchase products only from LegitScript-certified entities and not

from Empower, even when they would prefer not to do so and to purchase compounded products

from Empower instead.

       317. LegitScript’s tying arrangements affect a significant volume of interstate

commerce.

       318. These tying arrangements increase LegitScript’s monopoly power in the

certification market by increasing the need to obtain LegitScript Certification in order to be able

to compete on an even playing field against LegitScript-certified entities for sales and access to

key customers and distribution channels needed to compete. LegitScript has an economic
Page 107 -    COMPLAINT
   Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25       Page 112 of 123




interest in the tied sales of LegitScript-certified entities because the value of LegitScript’s

certification is increased when certified entities make more sales as a result of LegitScript’s

certification and when entities that are not certified are deprived of sales, thereby necessitating

certification from LegitScript.

        319. LegitScript’s tying arrangements have harmed Empower’s customers by depriving

them of additional suppliers who compete for sales to those customers and have deprived those

customers of access to additional output and sales, including during the national shortage of

GLP-1s.

        320. LegitScript’s tying arrangements have caused Empower substantial damages as a

direct and proximate cause of this unlawful conduct because LegitScript has unreasonably

restrained Empower from competing for sales to customers seeking certification or that have

become certified and has deprived Empower of critical sales channels to end customers and

patients.

        321. LegitScript’s tying agreements are per se unlawful under the Sherman Act and state

antitrust laws.

        322. Alternatively, to the extent LegitScript is permitted to defend its tying agreements

under a “quick look” and/or rule of reason standard, there is and was no legitimate, non-

pretextual, procompetitive justification for LegitScript’s tying restrictions capable of

outweighing their anticompetitive effects. Even if there were some conceivable justification,

LegitScript’s restrictive rules and agreements are not reasonably necessary to achieve any such

justification, which could have been achieved through less restrictive alternatives.




Page 108 -    COMPLAINT
   Case 3:25-cv-00514-AB            Document 1      Filed 03/26/25     Page 113 of 123




                                   COUNT THREE:
             Tortious Interference With Existing Contract Under Texas Law

       323. Empower incorporates by reference the foregoing paragraphs 1 through 322 of this

Complaint as if fully set forth herein.

       324. Plaintiff Empower had in place contracts to sell and distribute compounded

products to various providers listed in the paragraphs above.

       325. LegitScript knew the customers above, as well as other customers yet to be

identified through discovery, were doing business with, or had plans to do business with,

Empower by way of purchasing compounded products. LegitScript’s application requires

applicants to disclose the pharmacies from which they expect to buy compounded products.

       326. On information and belief, LegitScript also knew Plaintiff had entered into

contracts with the customers above and/or their agents to sell compounded products.

       327. On information and belief, LegitScript knew that interfering in these contractual

relationships would cause injury to Empower.

       328. LegitScript has intentionally, improperly, and without justification or excuse

interfered with those contracts by informing Plaintiff’s customers that they could not use

Empower as a pharmacy if they wished to obtain a LegitScript Certification.

       329. On information and belief, as a result of LegitScript’s conduct, Empower’s

customers were coerced into no longer doing business with, or doing a smaller volume of

business with, Empower, even though they wished to continue to source their supply of

compounded products from Empower.

       330. Moreover, LegitScript has also intentionally, improperly, and without justification

or excuse interfered with Empower’s contracts by making false and/or misleading and

disparaging statements relating to Empower’s business to at least the above-listed customers,
Page 109 -    COMPLAINT
   Case 3:25-cv-00514-AB          Document 1        Filed 03/26/25      Page 114 of 123




including, but not limited to, false and/or misleading and disparaging statements relating to the

dispensing of drugs in violation of FDA rules and regulations.

       331. As a result of LegitScript’s intentional interference, customers have backed out of

their agreements to purchase substantial quantities of compounded products from Empower

and/or substantially decreased the quantities of their orders for compounded products from

Empower.

       332. Absent Defendant LegitScript’s wrongful conduct, Plaintiff would have sold

substantial quantities of compounded products to these and other customers. Plaintiff therefore

has been harmed by LegitScript’s wrongful conduct.




Page 110 -   COMPLAINT
   Case 3:25-cv-00514-AB            Document 1        Filed 03/26/25       Page 115 of 123




                                   COUNT FOUR:
      Tortious Interference With Prospective Business Relations Under Texas Law

       333. Empower incorporates by reference the foregoing paragraphs 1 through 332 of this

Complaint as if fully set forth herein.

       334. As discussed above, Plaintiff had in place contracts to sell and distribute

compounded GLP-1s to customers. However, Plaintiff further had a reasonable expectation of

selling additional substantial volumes of compounded products to these customers and other

similarly situated clinics and providers.

       335. On information and belief, LegitScript reasonably knew that prospective customers

would have entered into a business relationship with Empower. LegitScript’s application

requires applicants to disclose the pharmacies from which they expect to buy compounded

products.

       336. LegitScript interfered with such prospective business relationships by intentionally,

improperly, and without justification or excuse interfering with those prospective business

relationships by informing Plaintiff’s prospective customers that they could not use Empower as

a primary pharmacy if they wished to become LegitScript certified. LegitScript, however,

arbitrarily and subjectively refused to certify Empower, further restricting Empower’s ability to

access key customers and the distribution channels necessary to compete in the market for the

manufacture and sale of compounded products and the relevant product markets.

       337. LegitScript represented to Empower’s customers that its prohibition on LegitScript

certified entities doing business with entities that are not LegitScript-certified, and specifically

Empower, was a “policy.” As a result of LegitScript’s interference, Empower’s customers were

induced by LegitScript to unreasonably agree not to deal with Empower.


Page 111 -    COMPLAINT
   Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 116 of 123




       338. As stated above, these agreements constitute unlawful concerted refusals not to deal

because two or more unaffiliated companies have unreasonably agreed to not deal with Empower

as a supplier of compounded products.

       339. LegitScript also intentionally, improperly, and without justification or excuse

interfered with Empower’s prospective business relations by making false and/or misleading and

disparaging statements relating to Empower’s business, including, but not limited to, false and/or

misleading statements and disparaging statements relating to the dispensing of drugs in violation

of FDA rules and regulations. As stated below, LegitScript’s communications to Empower’s

prospective customers further constitutes business disparagement under Texas law.

       340. On information and belief, LegitScript knew that interfering in these prospective

relationships would cause injury to Empower.

       341. Absent LegitScript’s wrongful conduct, Plaintiffs would have sold substantial

quantities of compounded products to prospective customers. Plaintiff therefore has suffered

great economic harm as a proximate cause of LegitScript’s actions.




Page 112 -    COMPLAINT
   Case 3:25-cv-00514-AB            Document 1         Filed 03/26/25          Page 117 of 123




                                      COUNT FIVE:
                         Business Disparagement Under Texas Law

       342. Empower incorporates by reference the foregoing paragraphs 1 through 341 of this

Complaint as if fully set forth herein.

       343. LegitScript has willfully misrepresented and/or omitted material facts, qualities,

and characteristics relating to Empower’s business, including, but not limited to, falsely

communicating to Empower’s customers that Empower is dispensing unlawful drugs; Empower

is “unwilling” to come into compliance with LegitScript’s standards; and that Empower has

ongoing state boards of pharmacy violations that it has not resolved.

       344. LegitScript has willfully misrepresented and/or omitted these material facts,

qualities, and characteristics in communications to entities and/or their agents who are actual and

potential customers of Plaintiff.

       345. LegitScript has willfully continued making these claims in spite of its awareness of

their falsity and/or potential to mislead.

       346. On information and belief, LegitScript acted with the intent to interfere with

Empower’s economic interests by making such false and disparaging claims.

       347. As a result of LegitScript’s intentional interference, existing customers have backed

out of their agreements to purchase substantial quantities of compounded products from

Empower and/or substantially decreased the quantities of their orders for compounded products

from Empower. LegitScript’s actions have also deprived Plaintiff of substantial sales, threatened

the loss of substantial future sales, and caused significant harm to Plaintiff’s goodwill and

reputation, further hurting Plaintiff’s ability to compete for future sales.




Page 113 -    COMPLAINT
   Case 3:25-cv-00514-AB          Document 1       Filed 03/26/25      Page 118 of 123




       348. Absent LegitScript’s wrongful conduct, Plaintiff would have sold substantial

quantities of compounded products to actual and prospective customers. Therefore, Plaintiff has

been harmed by LegitScript’s wrongful conduct.




Page 114 -   COMPLAINT
   Case 3:25-cv-00514-AB            Document 1       Filed 03/26/25       Page 119 of 123




                                    COUNT SIX:
                          Texas Common Law Unfair Competition

       349. Empower incorporates by reference the foregoing paragraphs 1 through 348 of this

Complaint as if fully set forth herein.

       350. LegitScript has interfered with Empower’s business relations by confronting

Empower’s customers and prospective customers with an unjustified and unreasonable “policy”

that prevents such customers from engaging Empower as their supplier of compounded products

because it lacks a LegitScript Certification.

       351. LegitScript has also arbitrarily and subjectively denied Empower’s applications for

a Healthcare Merchant Certification.

       352. LegitScript’s interference with Empower’s business relations has induced

Empower’s existing and prospective customers to unreasonably agree to refuse to deal with

Empower as their supplier of compounded products.

       353. On information and belief, LegitScript’s interference with Empower’s business

relations has caused customers and prospective customers to unreasonably agree to refuse to deal

with Empower as their supplier of compounded products.

       354. Based on information and belief, unidentified co-conspirators have participated in

LegitScript’s unlawful inducement of providers and clients’ unreasonable refusal to deal with

Empower by exerting pressure on LegitScript to (a) refuse to grant Empower a Healthcare

Merchant Certification and/or (b) enforce an unreasonable and unjustifiable “policy” prohibiting

LegitScript-certified entities from doing business with non-LegitScript certified entities.

       355. LegitScript’s conduct has unreasonably restrained trade and resulted in reduced

price competition in the market for compounded products; a substantial reduction in prescriber,


Page 115 -    COMPLAINT
   Case 3:25-cv-00514-AB            Document 1      Filed 03/26/25       Page 120 of 123




pharmacy, and patient choice; and a substantial reduction in output in the market for compounded

products.

        356. Accordingly, the anticompetitive conduct alleged herein also constitutes a violation

of the common law of Texas which prohibits unlawful acts by LegitScript that interfere with

Plaintiff’s ability to conduct its business.




Page 116 -    COMPLAINT
   Case 3:25-cv-00514-AB             Document 1      Filed 03/26/25       Page 121 of 123




                                 DEMAND FOR JURY TRIAL

        357. Empower hereby demands a jury trial on all of its claims.

                                    PRAYER FOR RELIEF

        358. Empower respectfully prays for the following relief:

        359. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript’s agreements with

applicants and certified entities to abide by LegitScript’s “Affiliates” rule prohibiting them from

purchasing from Empower are unreasonable and unenforceable restraints of trade that violate

Section 1 of the Sherman Act, 15 U.S.C. § 1, the Texas Business & Commercial Code §§ 15.01-

15.52, and the New Jersey Antitrust Act, N.J.S.A. §§ 56:9-3, 9-4(a);

        360. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript has unlawfully tied the

sale of its Healthcare Merchant Certification to the sale of products sold by LegitScript certified

entities, in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2, the Texas

Business & Commercial Code §§ 15.01-15.52, and the New Jersey Antitrust Act, N.J.S.A. §§

56:9-3, 9-4(a);

        361. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript’s unreasonably

restrictive “Affiliates” rule is null and void and cannot be enforced against LegitScript-certified

entities, applicants, or other parties;

        362. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript has commercially

disparaged Empower;

        363. Pursuant to 15 U.S.C. § 15, compensatory and trebled damages expected to exceed

$100 million, and attorneys’ fees and costs, resulting from Defendants’ violations of the Sherman

Act, the Texas Business & Commercial Code §§ 15.01-15.52 and New Jersey Antitrust Act,

N.J.S.A. §§ 56:9-1-19;

Page 117 -    COMPLAINT
   Case 3:25-cv-00514-AB           Document 1        Filed 03/26/25      Page 122 of 123




        364. Pursuant to 15 U.S.C. § 26, permanent injunctive relief preventing LegitScript from

continuing the unlawful acts in violation of the Sherman Act, the Clayton Act, the Texas Business

& Commercial Code §§ 15.01-15.52, the New Jersey Antitrust Act, and common law;

        365. Pursuant to 15 U.S.C. § 26, permanent injunctive relief preventing and restraining

LegitScript from tying the sale of any certification to products supplied by LegitScript-certified

or other entities;

        366. Pursuant to 15 U.S.C. § 26, permanent injunctive relief preventing and restraining

LegitScript from foreclosing Empower’s access to the relevant markets, customers, distribution

channels, or other competitively significant relationships;

        367. Pursuant to 15 U.S.C. § 26, permanent injunctive relief prohibiting LegitScript

from applying its certification standards to Empower in a biased and discriminatory manner;

        368. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript tortiously interfered

with Empower’s contracts for the sale of compounded products;

        369. Pursuant to 28 U.S.C. § 2201, a declaration that LegitScript tortiously interfered

with Empower’s prospective economic advantage to be derived from expected customer

relationships and an expected supply arrangements for compounded products and treatments;

        370. Pursuant to 28 U.S.C. § 2202, such further relief as may be necessary or proper

based upon this Court’s declaratory judgments;

        371. Pre-judgment and post-judgment interest at the maximum legal rate;

        372. Compensatory damages, treble damages, attorneys’ fees, and costs, including

expenses for discovery and document productions pursuant to the New Jersey Antitrust Act,

N.J.S.A. §§ 56:9-12; and

        373. Such other relief as this Court may deem just and proper.

Page 118 -     COMPLAINT
   Case 3:25-cv-00514-AB   Document 1    Filed 03/26/25      Page 123 of 123




Dated: March 26, 2025          Respectfully submitted,

                               STOEL RIVES LLP


                               s/ Timothy W. Snider
                               Timothy W. Snider, OSB No. 034577
                               timothy.snider@stoel.com
                               Alexandra Choi Giza, OSB No. 214485
                               alexandra.giza@stoel.com
                               Tel: 503.224.3380

                               and

                               WINSTON & STRAWN LLP
                               Susannah Torpey (pro hac vice forthcoming)
                               STorpey@winston.com
                               Rebecca Ou (pro hac vice forthcoming)
                               ROu@winston.com
                               Ye Eun Park (pro hac vice forthcoming)
                               YPark@winston.com
                               Tel: 212.294.6700

                               Attorneys for Plaintiff Empower Clinic
                               Services, L.L.C.




Page 119 -   COMPLAINT
